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                                           UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                           Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                           MOTION INFORMATION STATEMENT

      Docket Number(s): 24-40                                                                            Caption [use short title]
      Motion for: injunction pending appeal                                         Students for Fair Admissions
                                                                                    v.
                                                                                    U.S. Military Academy at West Point
      Set forth below precise, complete statement of relief sought:

       An injunction prohibiting West Point from
       considering race as a factor in admissions
       until further order of the Court.




      MOVING PARTY: Students for Fair Admissions                              OPPOSING PARTY: U.S. Military Academy at West Point, et al.

               E    Plaintiff                Q Defendant

               lil  Appellant/Petitioner    II  Appellate/Respondent

      MOVING ATTORNEY: Cameron T. Norris                                       OPPOSING ATTORNEY; Jennifer E. Blain
                                             [name of attorney, with firm, address, phone number and e-mail]
       Consovoy McCarthy PLLC                                                   United States Attorney's Office for the Southern District of New York

       1600 Wilson Boulevard, Suite 700, Arlington, VA 22209 United States Attorney's Office, SDNY, One Saint Andrew's Plaza, New York, NY 10007

       (703) 243-9423, cam@consovoymccarthy.com                                (212) 637-2743, Ellen.Blain@usdoj.gov
      Court- Judge/ Agency appealed from: Judge Philip M. Halpern

      Please check appropriate boxes:                                             FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                                  INJUNCTIONS PENDING APPEAL:

                9
       Has movant notified O posing counsel (required by Local Rule 27.l):
                     Yes KTNo (explain):
                                                                                   Has this request for relief been made below?
                                                                                   Has this relief been previously sought in this court? Yes      L
                                                                                                                                         Yes III No
                                                                                                                                                 No

                                                                                  Requested return date and explanation of emergency:              January 17, 2024
                                                                                   Plaintiff's members are applying to West Point this cycle. West Point's admissions

                E  Unopposed    9
       Opposing counsel's position on motion:
                                    Opposed       Don't Know
                                                                                   deadline is January 31, 2024, after which it will begin making general admissions
                                                                                   decisions. The loser of this motion will seek further review at the Supreme Court, and


                I W
       Does opposing co         tend to file a response:
                                                                                   January 17 gives this Court and the Supreme Court an equal amount of time.
                   Yes          o       Don't Know




      Is the oral argument on motion requested?        E E  Yes        No (requests for oral argument will not necessarily be granted)


      Has the appeal argument date been set?           E E  Yes        No If yes, enter date:

      Signature of Moving Attorney:
            /s/ Cameron T. Norris                  Date: 01 I04/2024                             .
                                                                                      Service : -\Electronic       [I    Other [Attach proof of service]

      Form T-1080 (rev. 10-23)
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                                      24-40
                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE SECOND CIRCUIT

                                        STUDENTS FOR FAIR ADMISSIONS,

                                                                  P/0Zn¢Appe//gm,
                                                         V.

             UNITED STATES MILITARY ACADEMY AT WEST POINT; UNITED STATES DEPARTMENT
           OF DEFENSE, LLOYD AUSTIN, in his official capacity as Secretary of Defense, CHRISTINE
           WDRMUTH, in her official capacity as Secretary of the Army, LIEUTENANT GENERAL STE-
            VEN GILLAND, in his official capacity as Superintendent of the United States Military
           Academy, and LIEUTENANT COLONEL RANCE LEE, in his official capacity as Director of
                       Admissions for the United States Military Academy at West Point,

                                                                 Dej%ndw2ts-Appe//ees.


                            MEMORANDUM IN SUPPORT OF EMERGENCY
                            MOTION FOR INJUNCTION PENDING APPEAL
                             (RULING REQUESTED BY JANUARY 17, 2024)

                    As the United States recency stressed, there are "times where the [Supreme]

             Court technically reserves a question, but the logic of the prior decision effectively an-

             swers it." SEC W. fwfé6g/, O.A.Tr.79, perma.cc/YJA9-JD89. When Windsor W. United

             States invalidated the federa/ ban on same-sex marriage, for example, the opinion techni-

             cally didn't address state bans. 570 U.S. 744, 774 (2013). Yet most circuits held that the

             logic of Windsor also governed the States, and the Supreme Court-just two Terms after

             Windsor-agreed. Ohergej%// W. Hodges, 576 U.S. 644, 662-63 (2015).

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                    This is one of those times. SFFA W. Harvard bans race-based admissions at uni-

             versifies nationwide, but it technically "does not address" the "military academies." 600

             U.S. 181, 213 n.4 (2023). The Court left that question open because the academies

             "may" have "potentially distinct interests." Id. Still, the Court never suggested that the

             academies would be held to any lesser scrutiny. It decried the deference that Korwmfw

             gave the military, id. at 213 n.3, and rejected the government's argument that the military

             needed racial preferences at civilian universities to preserve the diversity of officers

             coming from ROTC, see id. at 379 (Sotomayor,J., dissenting). Nor did the Court suggest

             that, if the academies identified "distinct interests," those interests would get a pass on

             narrow tailoring. Id. at 213 n.4. Harvard then gave several broad reasons why race-based

             admissions are not narrowly tailored. Id. at 213-17.

                    West Point isn't exempt from these narrow-tailoring requirements, and it badly

             violates them all. West Point uses race as a negative by using it as a positive for only

             three races. West Point uses the same arbitrary racial categories as Harvard and UNC.

             It promises to use race in perpetuity, asserting the same racial-balancing goals. West

             Point also considers race kw race, illegally stereotyping applicants. And its interests are

             just as amorphous as Harvard's and UNC's. Contra the district court, no more facts are

             needed to predict that West Point will likely lose, West Point will lose, even accepting




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             its facts and crediting its asserted interests. The district court's refusal to make any pre-

             diction was an abuse of discretion.

                    Because West Point will likely lose this appeal, this Court should enjoin it from

             racially discriminating now. SFFA has members who are applying to West Point cur-

             gently. The application deadline is January 31, 2024. Without an injunction, SFFA's

             members will lose their right to compete on an equal footing for the Class of 2028. And

             West Point's unconstitutional discrimination cannot be remedied with damages. West

             Point should be enjoined, pending appeal, from considering race as a factor in admis-

             sons. Because the loser of this motion will likely seek relief from the Supreme Court,

             SFFA respectfully asks this Court to rule by .January 17, 2024.1

                                                 BACKGROUND
                    Admission to West Point is highly competitive. Ex.A at 4. The academy accepts

             less than 10% of applicants. Id. At the beginning, middle, and end of its admissions

             process, West Point considers race.

                    West Point first considers race when offering letters of Assurance. Id. at 9-10.

             These letters are "conditional offers" and thus "const;itut[e] a firm commitment from

             West Point       that the candidate will be admitted" if they apply and satisfy certain

             minimum conditions. Id. When awarding these letters, West Point applies different rules



                   1 SFFA conferred with West Point, who opposes an injunction pending appeal.
             West Point agrees to file its opposition within seven days, instead of the normal ten.

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             to different races. "African-American[s]" can get a letter whenever their College En-

             trance Examination Rank is at or above "554." Doc.53-2 at 4. A separate ranking, called

             a Whole Candidate Score, is required for other races but not African-Americans. Id.

             "Hispanic[s1" can get a letter of assurance if they have the same College Entrance Ex-

             arnination Rank as African-Americans, but only if they 4/so have a Whole Candidate

             Score greater than "5,599." Id. White and Asian applicants-who can get a letter only

             if they are "scholars"-must have a College Entrance Examination Rank nearly 100

             points higher than Hispanics and African-Americans and a Whole Candidate Score

             more than 1,300 points higher. Id. West Point instructs admissions officers to give "less

             than 120 [letters] per class cycle" to African-Americans, "less than 75 per class" to His-

             panics, "less than 75 per class" to women, and "less than 75 per class" to scholars. Id.

                    West Point's use of race continues "throughout the admissions cycle." Ex.B 1194.

             Each year, its superintendent "nominate[s] up to 50 candidates." Ex.A at 11. When

             selecting them, the Superintendent can consider race. Ex.B 1194. West Point funnels

             these applicants through two different teams: regional offices, who "identify qualified

             candidates" based on traits like "leadership," "athlet;icism," and "scholastic apt;itude",

             and the Diversity Outreach Office, which merely asks if a candidate is "an African

             American, Hispanic, or Native American" and "qualified" Id.

                    West Point also considers race when selecting what it calls "additional appoin-

             tees." Id. 1193. It follows a two-step process. It first asks whether a particular race

             "make[s] up a greater share of West Point cadets" than its proportional share in "the

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             Army officer corps." Doc.47 at 18 n.3 (citing Ex.B 1116). If a race is overrepresented,

             West Point "does not consider race as a plus factor" for them (as was recency the case

             for "Asians"). M If a race is underrepresented, West Point considers race "as a plus"

             for them. Id. West Point can also give racial preferences at this stage to African-Amee

             icons, Hispanics, and Native Americans who didn't get a letter of assurance. Ex.B 1193.

             (Those who did get a letter but haven't been admitted yet are simply admitted as addi-

             tonal appointees. Id.)

                    West Point uses race "to foster diversity in the Army officer corps," which, it

             says, is necessary for cohesion, recruitment, retention, and legitimacy. Doc.47 at 1, 29-

             38. Despite repeating those interests over and over, West Point does not explain what

             level of racial diversity is needed to achieve them. Nor does it identify how diverse it

             would be if it stopped considering race. And despite not knowing these numbers, West

             Point insists that "[r]ace-neutral alternatives are not sufficient." Doc.47 at 55. The Coast

             Guard Academy was barred from using race for years, however, and West Point does

             not argue that it wasn't diverse during that time (or that the Coast Guard wasn't cohe-

             save, legitimate, etc.). Ex.A at 23 n.14.

                    West Point could have stopped considering race in June after Harvard, like civil-

             Ian universities did, but it didn't. Though Harvard "does not address" the military acad-

             emmies, 600 U.S. at 213 n.4, the government previously told the Court that the academies

             "re1[y] on Go/tier" (which Hwuarai eviscerated) and "employ" the same "admissions pol-

             ices" as Harvard and UNC (which Harvard invalidated). U.S.-SFFA-Br.17-24, 2022 WL

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             3130793. So it was unclear whether the academies would use race after Harvard. In Au-

             gust 2023, however, the academies announced that they would "use race as a factor"

             for the upcoming Class of 2028. Doc.1 1175.

                    SFFA filed this lawsuit and moved for a preliminary injunction in September,

             challenging West Point's use of race under the Fifth Amendment's equal-protection

             guarantee. Docs. 1, 6. SFFA has at least two members who are applying to West Point

             this cycle, but cannot compete on an equal footing because they are white. Member A

             is a high-school senior. Doc.8. He is "in excellent physical condition," "receive[s] annual

             physicals," and "ha[s] no medical condition that would prevent [him] from" attending.

             Id. He is "taking all necessary steps to apply." M., Doc.68. The same is true for Member

             C, a college freshman who has also "received a nomination from [her] congressman."

             Doc.69, D0€.25.2

                    The district court denied SFFA's motion. After reviewing the record-including

             West Point's internal guidelines, nearly a dozen declarations, and hundreds of pages of

             evidence-the court concluded that there weren't enough facts. Ex.A at 22. It refused

             to decide whether West Point's interests were "cope]]ing." Id. And it refused to ad-

             dress any of SOFA's narrow-tailoring arguments, insisting that "[a] full factual record is

             vital." Id. The Court did rule, though, that SFFA had standing and did not delay. Id. at



                     2 Member A has received a congressional nomination too. SFFA would have
             tiled a supplemental affidavit, like it did for Member C, but the district court instructed
             it not to. See Hearing-Tr.80.

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             15-17, 26 n.16. And it suggested that, if SFFA were likely to succeed on its constitutional

             claim, the other preliminary-injunction factors would be satisfied. Id. at 17, 24.

                    SFFA immediately appealed. Doc.79. SFFA asked the district court for an in-

             junction pending appeal, and the district court denied that motion today. Doc.83.

                                                   ARGUMENT
                    An injunction pending appeal is warranted if SFFA's constitutional claim is

             "likely to prevail," if denying relief would cause "irreparable harm," and if granting relief

             would not harm the "public interest." R0/7%472 Cat/9. Dicwese ofBroo/Q /72 W. Co/aww, 141 S.Ct.

             63, 66 (2020). All three are true here.

                    Though the district court thought it "largely academic," Ex.A at 15, no higher

             standard applies. An injunction prohibiting West Point from considering race does not

             "mandate" anything. Abba/ Wa/2 W. Coz/g/9/i11, 754 F.2d 1015, 1025 (Zd Cir. 1985). West

             Point can simply stop considering race, which it says is only a "plus" at certain "limited"

             points. Doc.47 at 16. An injunction does not become mandatory because the defendant

             must take steps to stop the illegal conduct-or because the defendant 6/900565 to affirm-

             atively hold meetings or rewrite materials. Cf Ex.A at 13. What matters is that the order

             itself is prohibitory, not mandatory. Il/I4sz'rawin5en 0 W. NYC, 435 F.3d 78, 90 (Zd Cir.

             2006). And if West Point ultimately prevails on appeal, it is free to consider race a g a i n

             in future cycles.




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             1.     SFFA is likely to succeed on the merits.
                    Hawardidentitied five ways that race-based admissions violate strict scrutiny. 600

             U.S. at 212-13, 218-19. They use race as a negative. They group people into incoherent

             racial categories. They rely on racial stereotypes. They have no firm end date. And they

             set goals that courts can't measure. West Point violates all live, and no special military

             exemption exists. These violations can be decided as a matter of law, taking West

             Point's interests as a given and its facts as true.

                         A.     West Point violates every rule from Harvard.
                    Negative. Race "may never be used as a negative." Id. at 218. Universities use

             race as a negative for some if they use it as "a plus" for others. Id. at 209. Because

             "[c]o]lege admissions are zero-sum," a "benefit provided to some applicants but not to

             others netewzrif advantages the former group at the expense of the latter." Id. at 218-19

             (emphasis added). Race is obviously a negative when, without the preference, "members

             of some racial groups" would "be admitted in greater numbers." M & n.6.

                    West Point violates this rule. It "considers race and ethnicity as a plus" for only

             three races. Doc.47 at 55 n.30, Ex.B 1180. It thus treats race as a negative for all others

             because its highly competitive admissions are zero-sum. Ex.A at 4. West Point also

             concedes that the composition of its class would meaningfully change-and "the num-

             be of white male cadets" would meaningfully "increase"- -if it switched to race-neutral

             alternatives. Et., Doc.47 at 55-58. Its whole reason for using racial preferences is to

             increase the j>rcpon'io12 of certain races. "How else but 'nega1;ive' can race be described



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            if, in its absence, members of some racial groups would be admitted in greater numbers

             than they otherwise would have been?" Harvard, 600 U.S. at 219. Worse than Harvard

             and UNC, West Point holds different races to different numerical scores, and it imposes

             race-based quotas on its early offers of admission. Doc.53-2 at 4. That "[m]echanica1"

            use of race wasn't legal even under Gwztfer W. Ballinger, 539 U.S. 306, 334 (2003).

                    Categories. Admissions programs cannot rely on "incoherent" racial categories.

             Harvard, 600 U.S. at 215-16. In Harvard, "the universities measure[d] the racial compo-

             sit;ion of their classes" by assigning applicants to one of six categories: "Lil Asian, (2)

             Native Hawaiian or Pacific Islander; (3) Hispanic; (4) White; (5) African-American; and

             (6) Native American." Id. Those categories were too "imprecise" to satisfy narrow tai-

            losing. Id. (citing Justice Gorsuch's concurrence). "Asian" sweeps in "600/0 of the

            world's population." M. at 291-92 (Gorsuch, J., concurring) (citing Bernstein, T/96 Mod-

             ere Affferimff Law cfRa6e, 94 S. Cal. L. Rev. 171 (2021)). "White" covers people as diverse


             as Italians, Iranians, Norwegians, Moroccans, the Turkish, and the Welsh. Id. at 292.

             And the remaining categories are equally incoherent. See 8g26r4/ Bernstein.

                   West Point uses the same categories. Ex.B 1111112-13. It fails strict scrutiny be-

             cause those categories weren't designed to achieve any compelling interest, let alone

             military objectives. The "federal interagency commission [that] devised this scheme of

            classifications    acted without any input from anthropologists, sociologists, ethnolo-

            gists, or other experts." Harvard, 600 U.S. at 291 (Gorsuch, J., concurring). And when




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             the government issued them, it stressed that '"[t]hese classifications should not be in-

             terpreted as being scientific or anthropological in nature, nor 5/904//ai //9] he viewed as deter-

            migrants for e/igilvi/ig/ for Parficipalion in any Federal Pr0<gram."' Id. (quoting 43 Fed. Reg.

            19,269). West Point's "use of these opaque racial categories" violates strict scrutiny. M

             at 217 (majority) .

                    Endpoint. Race-based admissions programs "must have reasonable durational

            limits." M at 228. "[P]eriodic review" is not enough. M at 225. Harvard and UNC

             violated this rule because they had no "sunset date." Id. And they had no "logical end

             point" because they wanted the racial demographics of their classes to mirror "the gen-

            oral populat;ion"- -a constandy moving target. Id. at 221-23.

                    West Point admits that it has no sunset date on its use of race, Ex.B 1196, and it

             has no logical endpoint either. Because West Point balances every class to "reflect] the

             diversity" of "the nation," Doc.47 at 43, it promises to use race in perpetuity. The na-

             t;ion's racial composition will always change, so West Point's racial balancing will always

             change with it. Indeed, West Point recency adjusted the treatment it gives Hispanic

            applicants precisely because their representation has fluctuated. Ex.B 96. "By promis-

            ing to terminate their use of race only when some rough percentage of various racial

            groups is admitted," West Point "effectively assure[s] that race will always be relevant."

            Harv ard, 600 U.S. at 223 (cleaned up). Equal protection does not tolerate that choice.


             Id. at 212-13, 223, 228.




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                    Stereot_y ing. University Ptograms "ma ynever use race as a stereotYPe." Id. at

            213. Racial preferences stereotype because they award a benefit based on "race kw

             race," assuming that race is a reliable proxy for a student's views, experiences, or back-

            ground. Id. at 220. Equal protection "forcefully reject[s] the notion that government

             actors may intentionally allocate preference to those 'who may have lithe in common

            with one another but the color of their skin." M

                    West Point stereotypes. Like Harvard and UNC, it gives benefits to certain ap-

             plicants based on race kw race. And it blatancy stereotypes. It constancy "engages in

             the offensive and demeaning assume;ion"' that racial minorities, because of their race,

            see things "different[1y] from nonminority students." M. at 220-21. It assumes, for ex-

             ample, that racial preferences will "foster trust and confidence" because minority sol-

             diets are more likely to trust officers with "demographic similarities." Doc.47 at 27-28,

            31. West Point also insists that, if officers' demographics don't precisely mirror the

             country's demographics, minority civilians will think the military is "illegitimate,"

             Doc.47 at 37, minority recruits "will be discouraged from serving," id. at 34-35, and

            minority soldiers cannot "navigate diverse people        overseas," id. at 38 (cleaned up).

            This type of race essentialism, arguing that a black lieutenant from San Diego can better

             relate to an Afghan shepherd than his white counterpart from Houston, isn't the stuff

             of strict scrutiny.

                    Unmeasurable Interests. Harvard holds that a university may consider race only

            if it has "an exceedingly persuasive justification" that "is measurable and concrete

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             enough to permit judicial review." 600 U.S. at 217. Courts must be able to measure not

             just the interest, but the difference between how that interest fares under racial prefer-

            onces and how that interest would fare under racial neutrality. Id. at 215.

                   West Point's interests are impossible to measure. The academy asserted four:

             recruitment, retention, cohesion, and legitimacy. Doc.47 at 29-38. "It is unclear how

            courts are supposed to measure any," or "know when they have been reached." Harvard,

             600 U.S. at 214. West Point never offers any reliable metric to determine whether a

             sufficient percentage of soldiers '"see themselves as part of an inclusive, representative

             force,"' Doc.47 at 30, Doc.48 1115, or whether units are good enough at "problem-

            solving" and "innova1;ion," Doc.47 at 30, 33, Doc.49 1119. "There is no particular point

             at which there exists sufficient 'innovation and problem-solving." Harvard, 600 U.S. at

             214-15. Nor can courts tell if West Point's racial preferences are causing the Army to

            "attract and retain top talent" or appear "more legitimate in the eyes of the nation."

             Doc.47 at 1, 34-36. Indeed, the government argued that all these interests were im-

             portent to ROTC programs at civilian universities-which provide more than four

             times as many Army officers as West Point-but the Harvard Court was unmoved. HW-

             ward-O.A.-Trl50:8-17, perma.cc/3JEA-VMQK.

                   In any event, West Point doesn't divulge what it thinks its racial numbers would

             he if it stopped using race (and upped its race-neutral alternatives), let alone prove that

             the difference is necessary for cohesion, recruitment, retention, or legitimacy. Individw/s

            are diverse, and West Point would have people of all races and backgrounds without

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            explicit racial preferences. See Harvard, 600 U.S. at 215 ("the question       is not one of

             no diversity or of scwfe: it is a question of degree"). The Coast Guard Academy, for

            example, couldn't use race before 2010, but after ramping up its race-neutral alterna-

            gives, it admitted racial minorities on par with West Point. Doc.1 11105. As the district

             court noted, West Point has no "evidence" it even considered a world where it stopped

             using race, Ex.A at 23 n.14, and West Point refused to mention the Coast Guard Acad-

             Amy below. Those omissions are fatal under strict scrutiny. Fix/Qer W. Univ. corTex. az'A¢1s-

             Zin, 570 U.S. 297, 312 (2013).

                           B.     West Point is not exempt from Harvard.
                    Harvard didn't exempt West Point from its reasoning or its rules. The Supreme

             Court knows how to carve out certain policies from its holdings. Et., Harvard, 600 U.S.

             at 230 ("nothing in this opinion should be construed as prohibiting umlversities...").

             But that is not what it did for the military academies. It said the academies have "po-

             tentially distinct interests," id. at 213 n.4-not that the academies would get a watered-

             down version of strict scrutiny, or that its use of race wouldn't need to be narrowly

             tailored to whatever distinct interests it identifies.

                    West Point is subject to normal strict scrutiny. As Harvard said,"fajfy exception

             to the Constitution's demand for equal protection must survive              strict scrutiny,"

            meaning all racial classifications-civilian or military-are subject to the same "daunt-

            ing" test. Id. at 206 (emphasis added). Indeed, "419 person         has the right to demand




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             that 4191 governmental actor       justify my racial classification    under the strictest ju-

             dicial scrutiny." Graf W. Ballinger, 539 U.S. 244, 270 (2003) (emphasis added). And "all

            racial classifications, imposed by whatever federal, state, or local governmental actor,

            must be analyzed        under strict scrutiny." Adarafzd Constwzttors W. P6iia, 515 U.S. 200,

             224 (1995) (emphasis added). These any's and a]l's could not be clearer, the caselaw

            leaves no room for a bespoke military-academy exception.

                    Consider f0/9725072 W. Ca/2w2i¢z. Prisons normally get the same "level of deference"

             as the military. Xa/74)/6 W. Dieaés, 885 F.2d 1099, 1109 (ad Cir. 1989). But when they

             classify citizens based on race, f0/9725071 tells courts to apply normal strict scrutiny. 543

            U.S. 499, 505-06 (2005). Giving "deference" to "prison officials" when they use race,

             the Court explained, would create a "hands-off approach to racial classifications" that

            "is fundamentally at odds with our equal protection jurisprudence." Id. at 506 n.1.

            "[S]earching judicial review of racial classifications" is all the more "necessary" where

            "the governments power is at its apex." Id. at 511.

                    H41ward"s discussion of KOre/WMM is informative. Though Kore/waMz was right to

             say that the mi]itary's racial classifications must pass strict scrutiny, all agree that the

             Court didn't faithfully apply that standard. H a r va r d , 600 U.S. at 207 n.3. It allowed the

             military to intern citizens because it deferred to the "judgment" of the "military author-

            cities" that japanese-Americans were a threat to national security. Koreffatszz, 323 U.S. at

             218-19. As it turned out, the mi]itary's policy was "carried out without adequate security




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            reasons."' Adarwzd, 515 U.S. at 236. Kore/fzatw has since been "overruled," precisely be-

             cause courts cannot tolerate "any retreat from the most searching judicial inquiry"

            when the government uses race. Harvard, 600 U.S. at 207 n.3.

                   This Court should not repeat history's mistakes. Korwaufw deferred to actual mil-

            itary tactics in an active world war, and yet still was "gravely wrong the day it was de-

            cided."' Id. at 207 n.3. Deference is even less warranted here, where the military is dis-

            criminating against teenagers when making admissions decisions in the hopes that some

             of them will attend, graduate, and become officers years later. Et., HmM? W. Rzwmj[je/d,

             542 U.S. 507, 535-36 (2004) (military policy violated "individual liberties" and didn't

            directly involve "the strategy or conduct of war"), Hart7 47212 W. Krone, 68 F.3d 973, 985

             (6th Cir. 1995) (military policy also injured "people not in the Armed Forces"). Though

             this Court should of course give the government's views careful consideration, that

            consideration cannot become abdication, and it could not overcome West Point's many

            violations of strict scrutiny. "Liberty and security can be reconciled, and in our system

             they are reconciled within the framework of the law." Bozwzediefze W. Bm/9, 553 U.S. 723,

             798 (2008).

                           C.     The district court's refusal to rule is reversible error.
                   The district court recognized that the likely merits are the Mdominant, if not

             dispositive, factor"' here, and that a likely equal-protection violation would "itself con-

             st;itut[e] irreparable harm." Ex.A at 17, 23. And it recognized that West Point carries

             the burden to justify its policy under strict scrutiny. M at 16-17. Yet the district court


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             never ruled that West Point likely satisfies strict scrutiny, explained why West Point is

             exempt from Harvard, or made any prediction about the likely merits. See id. at 21-22. It

             refused to rule until it had a "complete factual" record, meaning after discovery and

             even "a full trial." M at 22-23, 25.

                    Respectfully, that approach was flawed. Preliminary injunctions are "customarily

            granted" on "evidence that is less complete than in a trial on the merits." Univ. of Tex.

            W. Gwienisr/9, 451 U.S. 390, 395 (1981). The movant "is not required to prove his case in

             full." Id. And "disputed issues of material fact" do not "preclud[e]" the court "from

            granting a motion for preliminary injunction." Carson W. Aw. Brands, Ina, 450 U.S. 79, 85

             n.10 (1981). Especially in a "constitutional case," where the likely merits and the equities

            largely merge, "a district court necessarily abuses its discretion when it skips analyzing

             the likelihood of success factor." Baird W. Bo7Mz/ 81 F.4th 1036, 1041 (9th Cir. 2023),

             4wordN4t'/A5592 off nzrffizz/or/éers Or's. W. Mars/94//, 628 F.2d 604, 616-17 (D.C. Cir. 1980).

             And mores here, where strict scrutiny applies and Z/96 gover12we11z' carries the burden of

             justifying its use of race.

                    The Supreme Court has "foreclosed" the argument that, even though the gov-

            ernment has the burden, the plaintiff "should have borne the burden of disproving the

             asserted compelling interests at the hearing on the preliminary injunction." Gene/es W.

             O Centro Etpirifg Bw2ej%e12z'e Unit do Vege!4L 546 U.S. 418, 429 (2006). If "substantial fac-

             tal disputes" make it impossible to tell whether the government has carried its burden,

             then the government should lose and the "injunction" should issue. Ils/9my? W. ACLU,

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            542 U.S. 656, 670-71 (2004). Courts shouldn't fret over interests that the government

             never identities, they shouldn't consider them. And when the government identities

            interests, an "absence of evidence" on whether its policy is narrowly tailored means the

            government is w2/286 to prevail. New Hope FEZ. §€tw., Ma W. Poo/6, 966 F.3d 145, 183

             <Qd Cir. 2020).

                    No fact needed to rule for SFFA was missing anyway. West Point submitted

            evidence explaining how it uses race, which the district court recounted in detail. Ex.A

             at 4-11. West Point also identified its alleged interests for using race. M at 10. Even

            accepting that evidence and crediting those interests as compelling, West Point would

             still fail strict scrutiny. West Point Swedes that it uses race as a positive for some appli-

             cants, that it uses the same racial categories that Harvard deemed arbitrary, that it has

             no Hied end date, and more. As in Hwwzrd, the flaws in West Point's race-based admis-

            sons are legal defects that turn on basic facts and the very nature of race-based admis-

             sons. The district court "ha[d] no discretion to deny relief by preliminary injunction"

            when, even on the "undisputed evidence," SFFA proved a clear violation of "a consti-

             tutional right." Hens W. Greene?//e Aifporf CUWW, 284 F.2d 631, 633 (4th Cir. 1960) .

            11.     Absent an injunction, SFFA will suffer irreparable harm.
                    SOFA's members are irreparably harmed by West Point's unconstitutional racial

             discrimination. "In the Second Circuit, it is well setded that an alleged constitutional

            violation constitutes irreparable harm." Arias W. Darker, 459 F. Supp. ad 561, 571

             (S.D.N.Y. 2020), Ag., f0/9715072 y. Miles, 355 F. App'x 444, 446 (2d Cir. 2009), Stat/Qaros y.



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            N.Y.C Taxi @"Liwcwsi12e CUWWMZ, 198 F.3d 317, 322 (2d Cir. 1999), Beg/ W. NYC., 97

             F.3d 689, 693-94 (Zd Cir. 1996). There isn't "any justification" for carving out "an equal

            protection violation" from this rule, Brewer W. W Irondeqzzoif Cami S6/9. Diszi, 212 F.3d 738,

             744 (Zd Cir. 2000), especially given "the subdue, pervasive, and essentially irremediable

            nature of racial discrimination," Gres/94% W. LWindw1s/9 Partners, Ltd., 730 F.2d 1417, 1424

             (lath Cir. 1984). An "ongoing violation of         Equal Protection" is thus "a clear show-

            ing of irreparable harm." Barre# W. M4620/, 2022 WL 130878, at *5 (N.D.N.Y. Jan. 14),

            award Ilk/e W. United States, 847 F. Supp. 1038, 1043 (E.D.N.Y. 1994) (same for Fifth

             Amendment and military) .

                    SOFA's members face another irreparable harm: their inability to apply to West

            Point on a race-neutral playing field this cycle. SFFA's members are applying now, their

             applications are due on January 31, and West Point will make general admissions deci-

            sons from February to April. See Ex.B 1120, 1169. Absent an injunction pending appeal,

             these members will entirely miss their chance to compete on an equal footing for the

             Class of 2028. See As fffor Fairness in Be., Ina W. New fersey, 82 F. Supp. 2d 353, 363

             (D.N.J. 2000) (finding irreparable harm because a racial classification forced the plain-

             riffs to "compete on an unfair playing field"). "These sorts of injuries, z`. e., deprivations

             of temporally isolated opportunities, are exactly what preliminary injunctions are in-

             tended to relieve." DM. ex r6/. Bao Xiang W. Minn. Sign HzgN S6/9. Lenee, 917 F.3d 994,

            1003 (8th Cir. 2019). Contra the district court, these lost opportunities are irreparable

             regardless whether SOFA's members can get admitted to West Point or apply again next


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             year. See id (inability to try out for high-school dance team as a junior was irreparable

             even though student could try out next year), Yang W. Kosins/éi, 960 F.3d 119, 128 (2d

             Cir. 2020) (inability to compete in the upcoming primary was irreparable even though

             candidate could compete next cycle) .

                     SOFA's injuries are irreparable, at bottom, because they cannot be calculated or

             recouped. An injury is irreparable whenever money damages are "unavailable," Millen-

            WWW Pipeline Co. W. Xeggos, 288 F. Supp. ad 530, 542 (N.D.N.Y. 2017), or are "difficult to


             establish and measure," Regisz'er.6ow, In. W. Varro, Did, 356 F.3d 393, 404 (Zd Cir. 2004).

             Both are true here. An "equal protection violation" causes intangible harms that are

             "difficult to compensate monetarily." Brewer, 212 F.3d at 744. "aL]ost opportunities"

            are "difficult, if not impossible, to quantify" too. Il/Ia5Gim2iz'ie W. Hobbs Gap., 420 F.3d

            1234, 1242 (nth Cir. 2005). And damages are entirely unavailable here because these

             federal defendants "enjoy] [sovereign] immunity that prevents any later monetary judg-

            r e nt . " P472 cos Diner C041 W. N4ss4zz Cog/. Legis/4z'we, 321 F. Supp. 2d 520, 524 (E.D.N.Y.

            2003).

            111.     An injunction will not harm the public interest.
                     All remaining equitable factors favor SFFA. The equities are "always 'best served'

             by ensuring [that] constitutional and civil rights are upheld." YS. ex r6/. YF. W. NYC

            Dep? cfEd¢w., 2021 WL 1164571, at *5 (S.D.N.Y. Mar. 26) (emphasis added). The public


            "undoubtedly has an interest in seeing its governmental institutions follow the law,"




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             even when a case "involves complex, subdue, and professional decisions as to the com-

            position [of the] military." Roe y. DOD, 947 F.3d 207, 219, 230-31 (4th Cir. 2020)

             (cleaned up). And "[t]he government does not have an interest in the enforcement of

             an unconstitutional [policy]," NY Prob. 89° Prozi PAC W. LW4/5/9, 733 F.3d 483, 488 (2d

             Cir. 2013), even "in the military" context, Xin8/9 W. Berger, 56 F.4th 88, 108 (D.C. Cir.

            2022) u


                      West Point will complain that an injunction would come in the middle of its

            admissions cycle, but that claim is greedy overstated. For a high-schooler, West Point

             makes no admissions decisions until September of his senior year. Doc.53-2 at 3. West

             Point makes almost all admissions decisions between February and April, it doesn't

             even require applications to be submitted until the 31st of 1/925 month. Ex.B 1169, 1120.

             And injunctions are prospective. As SFFA told the district court, an injunction could

            clarify that West Point need not revoke whatever '"LOAs"' and small number of '"of-

             fews"' it sent out before the injunction issued. Doc.60 at 32, 94 Andino W. Middleton, 141

            S.Ct. 9, 10 (2020) (granting stay but exempting ballots that had been cast already). Any

             other burdens were invited by West Point when it decided to use race after Hwwzrd, see

             600 U.S. at 229 n.9, and are outweighed by applicants' interest in not suffering uncon-

             stitutional discrimination, C04/. to Dej2wd/ljj9rw4z'ive Anion W. Gfwz/90/w, 473 F.3d 237, 252

             (sth Cir. 2006).




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                                               CONCLUSION
                   By January 17, 2024, this Court should grant an injunction pending appeal pro-

             kibitzing West Point from considering race as a factor in admissions.

                                                             Respectfully submitted,

              Dated: January 4, 2024                         /_$`/ Cgj79670 77 T. Norris
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                                   CERTIFICATE OF COMPLIANCE
                   This motion complies with Rule 27(d) (2) (A) because it contains 5,040 words,

            excluding the parts that can be excluded. This motion also complies with Rule 32(a) (5) -

             (6) because it has been prepared in a proportionally spaced typeface using Microsoft

            Word 2016 in 14-point Garamond font.

                   Dated: January 4, 2024                          /_$`/ Cgjyggy0 77   T. Norris


                                       CERTIFICATE OF SERVICE
                    I filed this motion with the Court via ECP. I also served via e-mail a copy of

              this motion on all counsel of record.

                   Dated: January 4, 2024                          /_$`/ Cgjyggyg77    T. Norris




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                                             ATTACHMENT S

                         Exhibit Document                               D.Ct. Doc.
                         A         District Court Opinion and Order     78

                         B         McDonald Declaration                 53

                                     -Exhibit A to McDonald Dec.        53-1
                                     -Exhibit B to McDonald Dec.        53-2




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                                     Exhibit J
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             UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK

              STUDENTS FOR FAIR ADMISSIONS,

                                                  Plaintiff,
                                                                                OPINION AND ORDER
                                      -against-

              THE UNITED STATES MILITARY ACADEMY                                23-CV-08262 (PMH)
              AT WEST POINT, et al.,

                                                  Defendants.
             PHILIP M. HALPERN, United States District Judge:

                     Students for Fair Admissions ("Plaintiff" or "SFFA") commenced this action on September

             19, 2023 against the United States Military Academy at West Point ("West Point" or the

             "Academy"), the United States Department of Defense, Lloyd Austin, in his official capacity as

             Secretary of Defense, Christine Wormuth, in her official capacity as Secretary of the Army,

             Lieutenant General Steven Gilland, in his official capacity as Superintendent of the United States

             Military Academy, and Lieutenant Colonel Rance Lee, in his official capacity as Director of

             Admissions for the United States Military Academy at West Point (collectively, "Defendants").1

             (Doc. 1, "Compl."). Plaintiff presses a single claim for relief alleging that West Point's admissions

             policy violates the Fifth Amendment. Specifically, Plaintiff alleges that West Point's reliance on

             racial classifications in the admissions process fails to satisfy the strict scrutiny test as considered

             and applied in Students for Fair Admissions, Inc. v. President & Fellows of]-Iarvard Coll., 600

             U.S. 181 (2023) ("Harvard").




             1 At oral argument on December 21, 2023, the Court directed the parties to meet and confer in an effort to
             eliminate any defendants that are unnecessary to the litigation so as to limit the field to necessary and proper
             parties only. At this early stage in the proceedings, the Court is unable to determine, based upon the
             Complaint and motion papers, which of the named Defendants is actually necessary to the proper
             adjudication of the issues herein.
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                     Pending before the Court is Plaintiff' s motion for a preliminary injunction under Fed. R.

             Civ. P. 65(a), which seeks an order "enjoining the defendants during the pendency of this action

             from considering race as a factor when making admissions decisions." (Doc. 32). Plaintiff first

             filed its motion for a preliminary injunction on September 19, 2023, contemporaneous with the

             filing of the Complaint. (Doc. 6-Doc. 10). After service of process was completed and on October

             30, 2023, pursuant to the Court's directives at a telephone conference on October 24, 2023,

             Plaintiff filed a proposed Order to Show Cause, which the Court subsequently entered as modified,

             together with a revised memorandum of law in support of its preliminary injunction motion. (Doc.

             30, Doc. 31, "PL Br.", Doc. 32). Defendants filed a memorandum of law in opposition, together

             with declarations and exhibits (Doc. 47, "Def. Br.", Doc. 48-Doc. 53), and the motion was fully

             submitted with the filing of Plaintiffls reply brief and affidavit (Doc. 60, "Reply", Doc. 61). On

             December 18, 2023, three days before appearing for oral argument on the motion, Plaintiff

             supplemented its motion with two additional declarations. (Doc. 68, Doc. 69).2' 3 The Court heard

             oral argument on December 21, 2023 ("Dec. 21, 2023 Tr.").

                     For the reasons set forth below, Plaintiff" s motion for preliminary injunction is DENIED.




             2 Defendants, when asked at oral argument whether they would move to strike the supplemental declarations
             served long after the motion was fully briefed, "reserved," and noted that consideration of the supplemental
             records would not alter the Court's analysis on the motion. (Dec. 21, 2023 Tr. at 56: 17-24).

             3 On November 29, 2023, the Court received two letter-motions, one from the National Association of
             Black Military Women, ACLU, NYCLU, and NAACP LDF (Doc. 56), and one from 107 West Point
             Graduates (Doc. 57). The parties do not oppose the requests to file amicus briefs in this matter. The letter-
             motions are hereby GRANTED and the Court accepts the briefs annexed to the letter-motions as amici
             curiae in opposition to the motion for a preliminary injunction.
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                                                      BACKGROUND

                    On June 29, 2023, the Supreme Court ruled that the race-based admissions policies of

             Harvard College ("Harvard") and the University of North Carolina ("UNC") violated the equal

             protection clause of the Fourteenth Amendment and Title VI of the Civil Rights Act of 1964. The

             Supreme Court noted (in a footnote) in the majority opinion that "[t]he United States as amicus

             curiae contends that race-based admissions programs further compelling interests at our Nation's

             military academies. No military academy is a party to these cases, however, and none of the courts

             below addressed the propriety of race-based admissions systems in that context. This opinion also

             does not address the issue, in light of the potentially distinct interests that military academies may

             present." Harvard, 600 U.S. at 213 n.4. Given that carveout in Harvard with respect to military

             academies, less than three months later, Plaintiff commenced the instant action against West Point,

             contending that West Point's race-based admissions process violates the Fifth Amendment's equal

             protection principles.4

                    Plaintiff calls upon this Court to enjoin, for the pendency of this action, West Point's

             consideration of race in its admissions process. The Court, in order to properly frame the issue

             before it, summarizes below the allegations in the Complaint, and information taken from the

             various declarations and exhibits proffered on this motion concerning West Point and its

             admissions process, including its consideration of race in admissions.




             4 SFFA filed a similar complaint and motion for preliminary injunction against the United States Naval
             Academy on October 5, 2023. That court ruled from the bench on December 14, 2023, denying SFFA's
             motion for a preliminary injunction, and later issued a written Memorandum Opinion explaining its
             reasoning. See Students for Fair Admissions v. United States Naval Academy, et al., No. RDB-23-2699,
             2023 WL 8806668 (D. Md. Dec. 20, 2023) ("Naval Academy").
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                I.      Becoming an Officer in the Army

                     West Point was established in 1802 and prepares students to become leaders and officers

             in the United States Army. (Doc. 53, "McDonald Decl." 1] 7). To become an officer in the Army,

             an individual must (1) graduate from West Point, (2) attend a civilian college or university while

             participating in a Reserve Officers' Training Corps ("ROTC") program, (3) attend Officer

             Candidate School after graduating from college, (4) receive a direct commission after earning a

             professional degree, or (5) advance through the enlisted ranks and then complete one of these

             officer training programs. (Def. Br. at 11 (citing McDonald Decl. 1] 103 n.9)). Defendants

             emphasize that "West Point is a vital pipeline to the officer corps, and especially senior leadership,

             in the Armed Forces." (Id. at 12 (citing Doc. 49, "Stitt Decl." W 38-40)). West Point is a significant

             source of officer commissions for the Army, historically providing approximately 20% of those

             commissions. (McDonald Decl. 1] 9, Stitt Decl. 1] 37). "West Point graduates comprise 33% of

             general officers in the Army" and almost 50% of the Army's current four-star generals. (McDonald

             Decl. 1]9, Stitt Decl. W 38-39).

                     Admission to West Point is highly selective. In the most recent class, fewer than ten percent

             of applicants were given the honor ofjoining the Long Gray Line. (Compl. 1] 18 (citing West Point

             Public Affairs, Class of 2027 to Enter West Point, (June 21, 2023), perma.cc/4QY3-5BK6)).

             Congress has set the size of the Corps of Cadets of the Academy at a limit of 4,400. 10 U.S.C. §

             7442. As such, each incoming class currently consists of approximately 1,200 cadets before

             attrition. (Compl.   19 (citation omitted), Def. Br. at 11 (citing McDonald Decl.       10)). Cadets

             who graduate from West Point, under current law, are commissioned as active-duty officers with

             an obligation to serve a minimum of five years. (Def. Br. at 11 (citing McDonald Decl. 1] 9)), 10

             U.S.C. § 7448(a)(2).



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                 II.      West Point's Admissions Process

                       West Point's admissions process is governed by, inter alia, federal statute (10 U.S.C. §§

             7442-46), Army regulations (Regulation 150-1, Chapter 3-4), and internal guidance. (Def. Br. at

             12 (citing McDonald Decl. 11 II)). Plaintiff alleges that West Point's admissions process involves

             two stages: first, an applicant must pass medical examinations and a physical-fitness test and

             secure a "nomination" from a member of Congress, the Vice President, or the President, and at the

             second stage, applicants must be accepted by West Point's admissions office. (Compl. 1] 17).

             Plaintiff alleges that at this second stage, once applicants have received a qualifying nomination,

             West Point unconstitutionally considers race. (Id. W 17, 27-60).

                       Defendants, in opposition, explain in detail the West Point admissions process. To be

             admitted to West Point, a candidate must successfully complete (i) a candidate questionnaire, (ii)

             a second step kit, (iii) a candidate physical fitness assessment, (iv) a medical evaluation, and (v)

             an interview, and must receive (vi) a nomination. (Def. Br. at 12 (citing McDonald Decl. 1] 19)).5

             These steps must be completed by January 31st of the year the candidate would enter West Point.

             (Id. at 12-13 (citing McDonald Decl. 1]29)).

                       As noted supra, candidates seeking admission to West Point must also secure a nomination.

             See 10 U.S.C. § 7442, (Compl. 11 17, Def. Br. at 13). There are two types of nominations: those


             5 A candidate must complete a "[c]andidate [q]uestionnaire," reporting their high school GPA, standardized
             test scores, extra-curricular activities, athletic participation, and "basic demographic information," which
             includes race and gender. (Def. Br. at 12 (citing McDonald Decl. 11 19)). Candidates may submit the
             candidate questionnaire as early as February lst of the year before they would enter West Point (their junior
             year for candidates applying directly from high school). (Id. (citing McDonald Decl. '1120)). The Admissions
             Office reviews this questionnaire to determine if a candidate meets West Point's basic statutory eligibility
             requirements and is likely to be competitive for admission, and if so, an admissions officer will permit the
             candidate to proceed to the next step in the process. (Id. (citing McDonald Decl. W 23-24)). The next step
             of the admissions process, known as the "second step kit," requires submission of official high school
             transcripts, standardized test scores, essays, and teacher evaluations. (Id. (citing McDonald Decl. 1125)).
             Candidates are also asked to provide background information, including whether they are the first member
             of their immediate family to attend college, their combined family income, and whether they speak any
             foreign languages. (Id.).
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             from a "statutory nominating authority" and "service-connected" nominations. 10 U.S.C. § 7442,

             (Def. Br. at 13 (citing McDonald Decl. ii 31)). Statutory nominating authorities include Members

             of the United States House of Representatives and Senate, the Vice President, Delegates to

             Congress from American Samoa, the District of Columbia, Guam, the Virgin Islands, and the

             Commonwealth of the Northern Marianas Islands, the Governor and the Resident Connnissioner

             of Puerto Rico, and the Superintendent of West Point. (Id.).

                    Generally, individuals who received nominations from Members of Congress, the Vice

             President, Delegates to Congress, and the Governor and Resident Commissioner of Puerto Rico

             account for 75% of West Point's Corps of Cadets. (Id. (citing McDonald Decl. 1]32)). If candidate

             is appointed to West Point pursuant to nomination by a Member of Congress, that candidate is

             "charged" to that Member. (Id.). Each Member of Congress may have five "charges" at West Point

             at any one time. (Id.). When a Member has fewer than five charges at the end of the academic year,

             the Member is considered to have a "vacancy" for the following admissions cycle. (Id.). For each

             vacancy, Members can nominate up to ten candidates, and in a typical year, each Member of

             Congress will have one vacancy at West Point. (Id.). Like Members of Congress, the Vice

             President is provided with five West Point vacancies. (McDonald Decl. 1] 39). The District of

             Columbia and the various U.S. territories are provided with three to six West Point vacancies. (Id.

             ii 40). Finally, the Superintendent may nominate up to 50 candidates per year from the country at

             large, so long as the cap on authorized strength of the total Corps of Cadets of the Academy is not

             exceeded. (Id. 1]41).

                    Service-connected nominations include a selection of 100 cadets per year by the President.

             The Secretary of the Army may nominate 85 candidates per year from enlisted members of the

             regular Army, 85 candidates per year from enlisted members of the reserve component of the


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             Army, and 20 candidates per year from members of ROTC and Junior ROTC. 65 candidates may

             be nominated per year who are children of members of the armed forces who were, inter alia,

             killed in action, and finally the President is authorized to appoint children of persons who have

             been awarded the Medal of Honor. (McDonald Decl. W 45-48).

                    Congressional nominating authorities, the District of Columbia, and the various U.S.

             territories, may nominate their slate of candidates using one of three methods: (1) "competitive"-

             where the Member submits nominees to West Point without any order of preference, allowing the

             Admissions Office to select the best qualified candidate within that slate, (2) "principal-competing

             alternate"-where the Member identifies a principal nominee and a list of unranked alternates, and

             (3) "principal-numbered a1ternate"- -in which the Member identifies a principal nominee and a list

             of ranked alternates. (Def. Br. at 13-14 (citing Army Regulation 150-1, Chapter 3-4(a), McDonald

             Decl. W 34-36), McDonald Decl. 1]40).

                    Once an applicant to West Point completes the candidate questionnaire, the Admissions

             Office assigns the candidate an initial numerical score, known as the "Whole Candidate Score"

             ("WCS"), which is calculated based on academic qualifications (60%), a "community leader

             score" (30%), and the candidate's fitness assessment (10%), (Def Br. at 14 (citing McDonald Decl.

             W 49, 51-54)). Defendants assert that neither race nor ethnicity factors into the WCS. (Id. (citing

             McDonald Decl. W 55, 58, Ex. A)).

                    Once the Admissions Office assigns a WCS, it then determines whether a candidate is

             "qualified" or "not qualified."(Id. (citing McDonald Decl. 59)). Three different reviewers in the

             Admissions Office evaluate the candidate's file and each separately determines whether the

             candidate meets the academic, leadership, and physical standards as reflected in the WCS, as well

             as the subjective components of the application. (Id. at 14-15 (citing McDonald Decl. W 59-60)).



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             If any of the three reviewers disagree as to whether the candidate is qualified, the candidate is

             reviewed by the Admissions Committee, whose decisions are determined by a simple majority

             vote. (Id.). Defendants assert that the Admissions Office does not consider a candidate's race or

             ethnicity in determining whether a candidate is qualified. (Id. at 15 (citing McDonald Decl. 1]64)).

                    Defendants contend that the vast majority of West Point's incoming cadet class is based on

             an "order of merit," as determined by the WCS, within the category of nomination obtained by the

             candidate. (Id. (citing McDonald Decl. 1]65)). For candidates nominated by a Member of Congress

             under the "competitive" method, West Point will offer an appointment to the fully qualified

             nominee from that Member's slate with the highest WCS. (Id. (citing McDonald Decl. 1]66)). For

             candidates nominated by a Member of Congress under the "principal competing" or "principal-

             numbered" alternate methods, West Point must consider the order specified by the Member of

             Congress. (Id. (citing McDonald Decl. W 35-38, 68)). Where the principal nominee is either

             deemed unqualified or declines admission under the "principal-competing" method, West Point

             must offer admission to the fully qualified candidate on the Member's list with the next highest

             WCS, and under the "principal-numbered" method, West Point must offer admission to the fully

             qualified candidate who ranks next highest on the Member's list, even if that candidate has a lower

             WCS than others on the Member's list. (Id. (citing McDonald Decl. W 35-36)). Defendants assert

             that in these instances, race and ethnicity also play no role in West Point's selection process. (Id.

             (citing McDonald Decl. W 55, 68)).

                    If a qualified candidate is not appointed to the vacancy for which they were nominated, the

             candidate may be offered an appointment under two other statutory provisions. (Id. at 16). First,

             West Point may appoint up to 150 "qualified alternates"-qualified candidates who received a

             statutory nomination but did not win the vacancy. 10 U.S.C. § 7442(b)(5). West Point appoints


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             qualified alternates solely based on WCS, which does not consider race or ethnicity. (Id. (citing

             McDonald Decl. W 55, 70(a))).

                    Second, if West Point has filled each nomination vacancy, admitted 150 qualified

             alternates, and has still not filled its class, it may offer appointment to other remaining qualified

             nominees, known as "Additional Appointees." (Id. (citing McDonald Decl. 1170(b))). For at least

             the last 15 years, West Point has provided offers of appointment to Additional Appointees to meet

             its class size of around 1,200 cadets. (Id. (citing McDonald Decl. W 6, 70(b))). For Additional

             Appointees, the Admissions Office may consider race and ethnicity as one factor in a holistic

             assessment in extending offers. (Id.).

                    The Admissions Office also uses a recruiting tool referred to as a Letter of Assurance

             ("LOA"), in light of statutory, regulatory, and policy constraints preventing West Point from

             providing early admission decisions. (McDonald Decl. ii 71). Between July and September of the

             year before a candidate would enter West Point (a candidate's senior year if applying directly from

             high school), the Admissions Office will issue LOAs to approved candidates. (Id. 1177). An LOA

             constitutes a firm commitment from West Point to the candidate that the candidate will be

             admitted-provided that the candidate meets the conditions in the letter. (Id. 1] 73). After West

             Point provides an LOA to a candidate, the candidate has 60 days from the date of issuance to

             complete their application, except for securing a nomination and the medical qualification which

             must be completed by April 15. (Id. W73, 79). If the candidate does not complete their application

             within 60 days, the LOA is revoked. (Id. 1] 79).




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                 III.      West Point's Consideration of Race in Admissions

                        Plaintiff notes that West Point openly states that "[t]he United States Military Academy is

             fully committed to affirmative action." (Compl. 1127 (citing Cadet Consumer Information/Right

             to Know, United States Military Academy at West Point, perma.cc/H38P-JY3J)). Plaintiff
                                                                                                                   79
             contends that said "'commitment' plays out across all areas of the Academy's admissions policy.

             (Id. 1128). West Point counters that it "considers race and ethnicity flexibly as a plus factor in an

             individualized, holistic assessment of African American, Hispanic, and Native American

             candidates at three limited stages of the admissions process." (Def. Br. at 16). The stages when

             West Point considers race and ethnicity are: (1) when offering LOAs, (2) when extending

             Superintendent nominations, and (3) when extending offers to Additional Appointees. (Id. at 16-

             18). West Point asserts that it uses race and ethnicity in these three limited circumstances "only to

             further the military's distinct operational interest in developing a diverse officer corps to ultimately

             ensure that the military can meet its critical national security mission." (Id. at 18 (citing McDonald

             Decl. W 80, 95, Doc. 48, "Vazirani Decl." W 8-30)). In other words, Defendants contend, "the

             military has concluded that a diverse officer corps is critical to the military's ability to defend our

             nation," in that "it (1) fosters cohesion and lethality, (2) aids in recruitment of top talent, (3)

             increases retention, and (4) bolsters the Army's legitimacy in the eyes of the nation and the world."

             (no. at 29, 30).

                        Thus, West Point considers race in three limited circumstances as noted supra. First, the

             Admissions Office may extend an LOA to a candidate who has submitted a candidate

             questionnaire, official transcripts and standardized test scores, and has been interviewed, following

             an individualized review of the candidate's record. (Id. at 16 (citing McDonald Decl. W 72, 73,

             75, 77, 91)). As previously stated, LOAs are conditional offers of admission-the candidate must



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             still complete their application, pass physical fitness standards, become medically qualified, and

             receive a nomination. (Id. at 16-17 (citing McDonald Decl. 1173)). If a candidate satisfies those

             conditions but is not selected to fill a congressional vacancy, non-congressional vacancy, or

             qualified alternate slot, they will receive an admissions offer as an Additional Appointee. (Id. at

             17 n.1 (citing McDonald Decl. ii 93(a))). West Point's Diversity Outreach Office conducts this

             review for African American, Hispanic, and Native American candidates, while regional teams

             conduct this review for other candidates. (Id. (citing McDonald Decl. 1]78)).

                    Second, race or ethnicity could be one of many nondeterminative factors considered in

             extending Superintendent nominations. (Id. (citing McDonald Decl. 11 94)). Although the

             Superintendent may nominate up to 50 candidates per year, since 2008, the Superintendent has

             never exhausted his nominations in any given year. (Id. (citing McDonald Decl. W 41-42)). Most

             Superintendent nominations are used for sought-after athletes, for candidates that are highly

             qualified and motivated to attend the Academy, and for candidates applying to other service

             academies. (Id. at 17-18 (citing McDonald Decl. 1]41)).

                    Third, at the end of the admissions cycle, if West Point has not reached its class size, in

             extending offers to Additional Appointees, the Admissions Office may consider race and ethnicity

             flexibly as a plus factor for African American, Hispanic, and Native American candidates in its

             holistic assessment of candidates to identify those who are expected to make valuable contributions

             to the cadet environment. (Id. at 18 (citing McDonald Decl. 1]93)).




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                                                  STANDARD OF REVIEW

                     "A preliminary injunction 'is an extraordinary and drastic remedy, one that should not be

             granted unless the movant, by a clear showing, carries the burden of persuasion." Grand River

             Enter. Six Nations, Ltd. v. Prior, 481 F.3d 60, 66 (2d Cir. 2007). A party seeking a preliminary

             injunction, in the Second Circuit, generally must establish: (l) irreparable harm absent injunctive

             relief, (2) a likelihood of success on the merits, and (3) that a preliminary injunction is in the public

             interest.6 Kei! v. City of New York, No. 21-3043, 2022 WL 619694, at *1 (2d Cir. Mar. 3, 2022),

             We The Patriots USA, Inc. v. Hochul, 17 F.4th 266, 279 (2d Cir. 2021).

                     "The typical preliminary injunction is prohibitory and generally seeks only to maintain the

             status quo pending a trial on the merits." Tom Doherty Assocs., Inc. v. Sabah Ent., Inc., 60 F.3d

             27, 34 (2d Cir. 1995). "A mandatory injunction, in contrast, is said to alter the status quo by

             commanding some positive act." Id. "This distinction is important because [the Second Circuit

             has] held that a mandatory injunction should issue 'only upon a clear showing that the moving

             party is entitled to the relief requested, or where extreme or very serious damage will result from

             a denial of preliminary relief. "' Id. In other words, the movant is held to a heightened standard and

             must show a "clear" or "substantial" likelihood of success on the merits, and must make a "strong

             showing" of irreparable harm, in addition to showing that the preliminary injunction is in the public

             interest. New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 650 (2d Cir. 2015), see

             also JTH Tax, LLC v. Agnant, 62 F.4th 658, 667 (2d Cir. 2023) ("A heightened standard is

             imposed, in part, because injunctions of those sorts tend to be particularly burdensome to the

             defendants subject to them."). "The 'clear' or 'substantial' showing requirement-the variation in




             6 Unless otherwise indicated, case quotations omit all internal citations, quotation marks, footnotes, and
             alterations.
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             language does not reflect a variation in meaning-thus alters the traditional formula by requiring

             that the movant demonstrate a greater likelihood of success." Tom Doherty Assocs., 60 F.3d at 34.

                     The distinction between mandatory and prohibitory injunctions is, however, "not without

             ambiguities." Id. "Indeed, the typical method of differentiating the two-by examining whether

             the moving party is being ordered to act or refrain from action-is often 'more semantical than

             substantive." Velez v. Prudential Health Care Plan of New York, Inc., 943 F. Supp. 332, 338

             (S.D.N.Y. 1996) (quoting Abdul Wall v. Coughlin, 754 F.2d 1015, 1025 (2d Cir. 1985)). Plaintiff

             attempts to frame the relief sought as prohibitory-an order to stop West Point from considering

             race as a factor in the admissions process (Pl. Br. at 9). The gravamen of the request, however, is

             not for an order "prohibiting" an act, but rather for an order directing the performance of an act,

             i.e., for West Point to affirmatively change and remodel its admissions process. Defendants

             explained at oral argument that in order to cease consideration of race in the admissions process,

             West Point would have to convene the Academic Board, examine its current policy and decide

             how to untangle a complicated knot, change the policy and apply a new policy to the current

             applicant pool, possibly withdraw already offered appointments and LOAs, and a legion of written

             material would have to be changed. (Dec. 21, 2023 Tr. at 46:10-25). Simply put, granting

             Plaintiff" s requested injunction would require myriad acts be undertaken, not prohibited.

                    Plaintiff also argues that it merely seeks to restore the status quo ante, and therefore

             commands a prohibitory injunction standard. When an injunction seeks "to require a party who

             has recently disturbed the status quo to reverse its actions," it seeks to "restore[ ], rather than

             disturb[ ], the status quo ante, and is thus not an exception to the rule" that is typically applied in

             evaluating motions for a preliminary injunction. Christa McAule Intermediate Sch. PTO, Inc. v.

             de Elasio, 364 F. Supp. 3d253, 275 (S.D.N.Y.) (emphasis added), aff'd, 788 F. App'x 85 (2d Cir.



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             2019). The status quo was not, however, "recently disturbed"-West Point has been utilizing a

             race-based admissions process for over four decades. (McDonald Decl. 1] 81). Indeed, "[b]ecause

             the proposed injunction's effect on the status quo drives the standard," the Court must ascertain

             "the last actual, peaceable uncontested status which preceded the pending controversy." A.H. by

             & through Hester v. French, 985 F.3d 165, 177 (2d Cir. 2021). It was four decades ago, and prior

             to Harvard, when West Point's admissions regime did not include consideration of race. Plaintiff" s

             argument that the status quo has been "recently disturbed" is therefore unavailing.

                    Plaintiff also argues that the mandatory injunction standard does not apply because a

             preliminary injunction would not give it the ultimate relief sought in the action. Although the

             description of the relief sought in the Complaint differs slightly from that requested on this motion,

             it is in effect identical. (Compare Compl. at 27, with Doc. 32). Ultimate relief is being sought by

             this motion. Plaintiffs reliance on choice language in Christa McAule Intermediate Sch. PTO,

             Inc., does not alter this Court's conclusion. 364 F. Supp. at 253 (the "all-relief-sought" exception

             does not apply because the preliminary injunction affects "this year's admissions, while if

             Plaintiffs win at trial, Defendants would be enjoined from using the changed Discovery procedure

             in future admissions cycles"). The injunction sought in Christa McAule Intermediate Sch. PTO,

             Inc. would have prohibited the use of a new admissions process not yet implemented. Here,

             because the injunction would command the installation and use of a new process-it is not at all

             clear how the requested injunction would, as Plaintiff suggests, affect but one year of admissions

             at West Point. Because the admissions cycle begins on February lst of any given year and ends on

             April 15th of the following year, at least several years of admissions cycles would be impacted,

             and if appeals, discovery, and a trial took longer than a year, multiple admissions cycles could be

             impacted.



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                    The issue of whether to apply a heightened standard is largely academic, however, because

             regardless of the standard applied, for the reasons discussed herein, Plaintiff has failed to establish

             a likelihood of success warranting the extraordinary and drastic remedy sought.

                                                          ANALYSIS

                    I. Standing

                    Before considering the elements that Plaintiff must demonstrate for a preliminary

             injunction, the Court must first examine standing. A party invoking federal court jurisdiction must

             have standing to sue "for each claim and form of relief sought." Cacchillo v. Insured, Inc., 638

             F.3d 401, 404 (2d Cir. 2011). "Standing is not dispensed in gross, rather, plaintiffs must

             demonstrate standing for each claim that they press and for each form of relief that they seek (for

             example, injunctive relief and damages)." Trans Union LLC v. Ramirez, 141 S. Ct. 2190, 2208

             (2021). "A court may only provide proposed injunctive relief, for instance, if a plaintiff can

             demonstrate his entitlement to that specific relief." Doe v. Columbia Univ., No. 20-CV-06770,

             2022 WL 4537851, at *16 (S.D.N.Y. Sept. 28, 2022). At the preliminary injunction stage, "a

             plaintiff" s burden to demonstrate standing will normally be no less than that required on a motion

             for summary judgment." Green Haven Prison Preparative Meeting of Religious Soc 'y of Friends

             v. New York State Dep 't of Corr. & Cmly. Supervision, 16 F.4th 67, 78 (2d Cir. 2021). "To establish

             standing for a preliminary injunction, a plaintiff cannot rest on mere allegations but must set forth

             by affidavit or other evidence specific facts that establish the three familiar elements of standing:

             injury in fact, causation, and redressability." Id.

                    To invoke organizational standing, "an organization must demonstrate that (a) its members

             would otherwise have standing to sue in their own right, (b) the interests it seeks to protect are

             germane to the organization's purpose, and (c) neither the claim asserted nor the relief requested



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             requires the participation of individual members in the lawsuit." Harvard,600 U.S. at 199 (quoting

             Hunt v. Washington State Apple Advertising Comm 'n, 432 U.S. 333, 343 (1977)).

                    Defendants press only one argument attacking Plaintiff" s standing: that Plaintiff" s use of

             pseudonyms for its injured members is insufficient to establish the standing of those members.

             (Def. Br. at 23-24). Defendants contend that Plaintiff must identify Members A and C by name in

             order to demonstrate "how[ ] race and ethnicity would play a role in West Point's consideration of

             Plaintiff" s members' applications." (Id. at 24). The requirement that Defendants would have this

             Court impose upon Plaintiff appears to be based on an overreacting of the Supreme Court's decision

             in Summers v. Earth Island Inst., which instructs that a plaintiff claiming an organizational

             standing must identify members who have suffered the requisite harm. 555 U.S. 488, 499 (2009).

             The associations in Summers lacked standing because they failed to identify a specific member

             who had standing, pointing instead to their membership generally and speculating that one of those

             members likely had standing. Id. at 497-99. Here, identification of specific members with standing,

             supported by a verified complaint, declaration from Plaintiff" s president, and those members'

             declarations-albeit anonymous-suffices under Summers to "establish[ ] that at least one

             identified member ha[s] suffered or would suffer harm." 555 U.S. at 498. Identification by name

             is not necessary where, as here, a name will not inform the pertinent inquiry of whether a person

             will be denied the opportunity to compete for admission at West Point on an equal basis.

                    Moreover, identification of these members by name as opposed to pseudonym does not

             comport with the Supreme Court's conclusion concerning standing in Harvard, which was that

             SFFA had standing at the commencement of those underlying litigations. 600 U.S. at 200. There,

             like here, the members were referred to by pseudonym. See Students for Fair Admissions, Inc. v.

             President and Fellows of]-Iarvard College, No. 14-CV-14176, Doc. 1 (D. Mass. Nov. 17, 2014),



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             Students for Fair Admissions, Inc. v. University of North Carolina, et al., No. 14-CV-00954, Doc.

             1 (M.D.N.C. Nov. 17, 2014). Accordingly, this Court rejects this line of Defendants' attack on

             Plaintiff" s standing at this stage of the action.7

                     II. Likelihood of Success on the Merits

                     "Consideration of the merits is virtually indispensable" in the context of an alleged

             Constitutional violation, "where the likelihood of success on the merits is the dominant, if not the

             dispositive, factor." New York Progress & Prof. PAC v. Walsh, 733 F.3d 483, 488 (2d Cir. 2013).

             Plaintiff presses a single claim against Defendants for violation of the Fifth Amendment's equal

             protection principles.8

                     The Court's examination of an alleged equal protection violation concerning governmental

             classifications based on race involves "a daunting two-step examination known in our cases as

             'strict scrutiny." Harvard, 600 U.S. at 206 (quoting Adarand Constructors, Inc. V. Pe171a, 515 U.S.



             7 Defendants rely on a decision currently on appeal in the Second Circuit in which the district court, inter
             alia, denied a motion for a preliminary injunction that was supported by anonymous declarants and
             dismissed the action for lack of Article III standing. Do No Harm v. Pfzer Inc., 646 F. Supp. 3d 490, 501
             (S.D.N.Y. 2022). The court in that case noted the rule that a plaintiffs burden to establish standing on a
             preliminary injunction motion is normally no less than that required on a motion for summary judgment.
             Id. at 500. Although this Court holds that the member-declarants identified by SFFA need not be named in
             order to sufficiently establish their standing, the principle that a more fulsome factual record as would be
             required on a motion for summary judgment is necessary for a motion of this ilk, rings true for the other
             reasons described herein forming the basis for this Court's decision.
             8
              "As this case involves federal, not state, legislation, the applicable equality guarantee is not the Fourteenth
             Amendment's explicit Equal Protection Clause, it is the guarantee implicit in the Fifth Amendment's Due
             Process Clause." Sessions v. Morales-Santana, 582 U.S. 47, 52 (2017) (citing Weinberger v. Wiesenfeld,
             420 U.S. 636, 638, n.2 (1975) ("[W]hile the Fifth Amendment contains no equal protection clause, it does
             forbid discrimination that is so unjustifiable as to be violative of due process. This Court's approach to Fifth
             Amendment equal protection claims has always been precisely the same as to equal protection claims under
             the Fourteenth Amendment.")). The Supreme Court has held that the method of analyzing equal protection
             claims brought under the Fifth Amendment is no different than the analysis of such claims under the
             Fourteenth Amendment. See Buckley v. Valeo, 424 U.S. l, 93 (1976) ("Equal protection analysis in the
             Fifth Amendment area is the same as that under the Fourteenth Amendment."), see also Fu llilove v. Kreps,
             584 F.2d 600, 603 n.2 (2d Cir. 1978) (same), aff'd sub nom. Fullilove v. Klutznick, 448 U.S. 448 (1980).
             The parties in this case agree. (See Pl. Br. at 10 (describing applicable standard as the test applied in
             Harvard), Def. Br. at 12 (same)).

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             200, 227 (1995)) The "strict scrutiny" standard requires the Court to determine "first, whether the

             racial classification is used to 'further compelling governmental interests."' Id. at 206-07 (quoting

             Gruffer v. Ballinger, 539 U.S. 306, 326 (2003)). If the answer to the first question is yes, the second

             inquiry is "whether the government's use of race is 'narrowly tailored'-meaning 'necessary'-

             to achieve that interest." Id. at 207 (quoting Fisher v. University of Tex. at Austin, 570 U.S. 297,

             311-312(2013)).

                     A likelihood of success on the merits of its Fifth Amendment claim, therefore, requires that

             Plaintiff, in this procedural context, establish it is likely to prevail on its claim that Defendants

             cannot prove their consideration of race is used to further compelling governmental interests and

             is narrowly tailored to achieve those interests. Plaintiff, by electing to proceed with the instant

             motion at this early stage and without even the benefit of an answer to its Complaint,9 has foisted

             an almost impossible burden on itself. That is, for Plaintiff to prove a negative now and without

             the benefit of a developed factual record-much less knowing and pleading the actual compelling

             governmental interests asserted by Defendants and how they are narrowly tailored.

                     The Supreme Court in Harvard considered whether the affirmative action admissions

             programs at Harvard and UNC violated the equal protection clause of the Fourteenth Amendment.

             "While the Court declined to overturn its 2003 decision in Gruffer v. Ballinger, 539 U.S. 306

             (2003), which held that consideration of an applicant's race as one factor in admissions did not

             violate the Constitution, the Court determined the schools' programs fell short of satisfying the

             burden that their programs be sufficiently measurable to permit judicial review under the rubric of

             strict scrutiny." Naval Academy, 2023 WL 8806668, at *2 (quoting Harvard, 600 U.S. at 214).



             9 Defendants requested, and Plaintiff did not oppose, a stay of the time for Defendants to file an answer to
             the Complaint "pending decision on [the] preliminary injunction motion, including any appeals." (Doc. 37).
             The Court granted that request on November 2, 2023. (Doc. 40).
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             The Court, in a footnote, expressly declined to address "the propriety of race-based admissions

             systems in [the military academy] context ... in light of the potentially distinct interests that

             military academies may present." Harvard, 600 U.S. at 213 n.4.

                     Thus, guided by the Supreme Court's decision in Harvard, Plaintiff took a patchwork of

             information from the Government's submissions in Harvard,10 newspaper articles, press releases,

             websites, agency reports, reports of the West Point Board of Visitors, and studies, coupled with

             the declarations of two of its members, to make an educated guess at what West Point would assert

             are its compelling governmental interests. (Compl. 1197). Plaintiff alleged in its Complaint, and

             moved for a preliminary injunction on the basis, that "West Point asserts compelling interests in

             [l] facilitating organizational cohesion, [2] forming culturally aware leaders, [3] ensuring societal

             'legitimacy' (circularly defined by the Academy), and [4] safeguarding the public trust." (Compl.

             1] 97). It contends that each of the foregoing has been, in sum and substance, rejected by the

             Supreme Court's decision in Harvard. While, of course, there is nothing wrong with compiling

             information needed to make good faith allegations in a complaint, each of the four purported

             interests, when compared to those asserted by Defendants, were imprecise and clearly not what

             West Point alleged.

                     At oral argument Plaintiff reiterated its position that it did not believe it was unusual for it

             bring this motion without full information and noted that Defendants, in opposition to this motion,

             indicated what they contend are their compelling interests. (Dec. 21, 2023 Tr. at 12:15-13:16)

             West Point's brief contends that "[t]he Army has concluded that diversity in the officer corps is

             vital to national security because it (1) fosters cohesion and lethality, (2) aids in recruitment of top



             10 The submissions included an amicus brief from 34 top former military leaders. See Brief of Adm. Charles
             S. Abbot et al. as Amici Curiae in Support of Respondents, Students for Fair Admissions v. Pres. & Fellows
             of !-Iarv. Coll., 600 U.S. 181 (2023) (Nos. 20-1199, 21-707).

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             talent, (3) increases retention, and (4) bolsters the Army's legitimacy in the eyes of the nation and

             the world." (Def. Br. at 30).

                    Defendants also submitted six declarations with their opposition to this motion. Acting

             Under Secretary of Defense for Personnel and Readiness for the Department of Defense, As fish

             S. Vazirani, posits that a racially diverse officer corps (1) is critical to mission readiness and

             efficacy (Vazirani Decl. ii 12), (2) provides a broader range of thoughts and innovative solutions

             (id. 1119), (3) helps military recruitment and retention which is vital to national security interests

             (id. W 22, 25), (4) helps maintain the public trust and its belief that the military serves all of the

             nation and its population (id. 1] 26), and (5) protects the U.S. militaries' legitimacy among

             international partners (id. 1128). Colonel Deborah J. McDonald, the former Director of Admissions

             at West Point, states that diversity at West Point (1) helps cadets lead a multicultural force and

             fight alongside diverse partners and allies, (2) is essential for military cohesion, (3) is critical to

             maintaining diversity in the officer corps, and (4) is necessary to attract top talent. (McDonald

             Decl. 'w 101-104).

                    While perhaps two possible interests raised by Defendants align generally with Plaintiff" s

             allegations in its Complaint, it is clear to this Court that the allegations offered on each side are

             simply different. More specificity is needed to be alleged in the Complaint and a partial analysis

             of the compelling governmental interests would not be sufficient for preliminary injunction

             purposes. An additional issue arises with respect to compelling governmental interests as well:

             Does the Court consider West Point's articulation, the Army's articulation, or both?

                    Indeed, once Defendants posited their list of allegedly compelling governmental interests

             supported by those six declarations and exhibits, Plaintiff countered with a reply affidavit from

             Lieutenant General (Ret.) Thomas W. Spoehr, for the first time reacting specifically to the interests



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             claimed by Defendants, and "disagree[ing] with all [of Defendants'] key conclusions supporting

             racial preferences in selecting candidates for West Point." (Doc. 61, "Spoehr Decl." 112). Thus, on

             its face, the procedural posture demands the Court to resolve this significant issue based upon, in

             effect, reply papers.

                     The problems do not end there. Plaintiff demands that "real strict scrutiny" be applied, and

             "not some watered-down version that gives the government special deference." (Pl. Br. at 15). But,

             the reality is that this Court must analyze West Point's admissions program under the strict scrutiny

             rubric together with the Supreme Court's instruction to give "great deference to the professional

             judgment of military authorities concerning the relative importance of a particular military

             interest." Winter v. Nat. Res. Def Council, Inc., 555 U.S. 7, 24 (2008)." Simply put, West Point

             "is due more deference than were the private and public universities in Harvard given the explicit

             caveat in footnote 4 off-Iarvard." Naval Academy, 2023 WL 8806668, at *11.

                     At best, Plaintiff has highlighted an issue of fact as to the nature of the asserted reasons for

             considering race, whether those reasons satisfy a strict scrutiny analysis, and whose interests are




             II Deference in this context is not judicial abdication, but rather simple recognition that "in the area of
             military affairs .... the Constitution itself requires such deference." Rostker v. Goldberg, 453 U.S. 57, 67
             (1981). When pressed at oral argument to explain, as a practical matter, how this Court should properly
             analyze strict scrutiny while granting deference, Defendants argued in sum and substance that the Court
             should view the deference inquiry as the weight afforded the evidence presented. Defendants argued that
             the Court has on the one hand six declarations proffered by Defendants, made by senior military leaders
             based upon their collective experience, among other things (Doc. 48-Doc. 53), and on the other hand,
             from Plaintiff in reply, a single declaration from a retired general who bases his opinion on his own robust
             experience, among other things (Doc. 61). (Dec. 21, 2023 Tr. at 36:13-37:1, 39:1-40:4). Defendants thus
             urge the Court to give great deference to their evidence, especially where it is the result of exhaustive
             inquiry. Able v. United States, 155 F.3d 628, 634 (2d Cir. 1998). The Court agrees that the weight of the
             evidence here does not suggest Defendants lack potentially compelling governmental interests, it suggests
             just the opposite. Plaintiff urges that the Court grant no deference at all to Defendants when considering
             strict scrutiny. The ultimate determination of how deference operates here remains uncertain.


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             actually at stake.12 The reply does not solidify Plaintiffs conclusion-it creates questions of fact

             which falls far short of the clear showing required for the extraordinary and drastic remedy sought.

                     Plaintiff" s argument at its core is that any alleged compelling interest asserted by

             Defendants is unconstitutional under Harvard.13 The procedural posture created by Plaintiff on

             this application, proving a negative, makes it impossible for the Court to determine whether

             Plaintiff has made a clear showing entitling it to an injunction. It is possible that Harvard's equal

             protection conclusions with respect to the civilian universities apply to West Point. Contrariwise,

             the reasons given by Defendants may all be compelling governmental interests which are narrowly

             tailored: what was not compelling to the Supreme Court as regards civilian universities may in fact

             be compelling when raised in the context of West Point and national security interests. Indeed,

             these possibilities are precisely what Harvard itself left open, by declining to address the issue

             altogether, "in light of the potentially distinct interests that military academies may

             present." Harvard, 600 U.S. at 213 n.4 (emphasis added). But to grant a motion of this

             importance with so much left open would be imprudent.

                     A full factual record is vital to answering this critical question whether the use of race in

             the admissions process at West Point furthers compelling governmental interests and whether the

             government's use of race is narrowly tailored to achieve that interest. The Court cannot enjoin

             West Point's use of race in admissions without a full understanding, informed by a complete




             12 The parties appear to agree that the Army and West Point are indistinct for purposes of this analysis. In
             other words, while the challenged admissions process occurs at West Point, the interests being served
             include what happens once those cadets leave the Academy grounds. The Court continues to question
             whether and to what extent the interests of the military inform the strict scrutiny analysis with respect to
             the military academy's use of racial classifications in its admissions process.

             13 The underlying litigations in Harvard were adjudicated after full trials, not at the pre-answer stage. The
             procedure employed here does not permit a proper consideration and development of the facts at issue, and
             is insufficient based on the evidence currently available.
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             factual predicate, as to what exactly are the compelling interests asserted, to whom those

             compelling interests belong, and how in this specific case they are or are not narrowly tailored to

             achieve those interests.14 Accordingly, Plaintiff has not met its burden, on the present record, to

             show a clear, or otherwise preponderant, likelihood of success on the merits.

                     Although the other preliminary injunction factors need not be addressed in view of the

             above, the Court briefly addresses the remaining preliminary injunction requirements to complete

             its review.

                     III. Irreparable Harm

                     "The burden of proof and persuasion rests squarely on the party moving for a preliminary

             injunction to show that irreparable harm is likely." .]8R, Inc. v. Keurig Green Mountain, Inc., 618

             F. App'x 31, 34 (2d Cir. 2015). To satisfy its burden to show irreparable harm, a plaintiff "must

             demonstrate that absent a preliminary injunction they will suffer an injury that is neither remote

             nor speculative, but actual and imminent, and one that cannot be remedied if a court waits until

             the end of trial to resolve the harm." JTH Tax, 62 F.4th at 672.

                     Plaintiff argues, with respect to irreparable harm, that the alleged unconstitutional racial

             discrimination is itself strong irreparable harm, because it bars SFFA's members from fairly

             competing for a whole admissions cycle. (Pl. Br. at 9 (citing Yang v. Kosinski, 960 F.3d 119, 128

             (2d Cir. 2020)), 19-20). While the Second Circuit has held that pleading an alleged constitutional



             14 Plaintiff points out that the present record lacks evidence of West Point's consideration of race-neutral
             alternatives, necessary to establish narrow tailoring. (Pl. Br. at 18 (citing Gruffer, 539 U.S. at 339)). It
             suggests that West Point could follow the example of the Coast Guard Academy and its own Merchant
             Marine Academy. (Id.). The Coast Guard Academy, until 2010, was prohibited from using racial
             preferences in its admissions process and, in the two years before it began considering race, launched an
             aggressive advertising and recruiting campaign targeting minorities which increased minority enrollment
             by 60%, from 15% to 24%. (id.). The Merchant Marine Academy does not use race for most of admissions.
             (Id.). While Defendants' opposition discusses some of the race-neutral alternatives it has considered and
             implemented, it is clear that both Plaintiff and Defendants need to further develop a factual record on this
             issue as well.
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             violation itself constitutes irreparable harm, Connecticut Dep 't of Envtl. Prof. v. O.S.H.A., 356

             F.3d226, 231 (2d Cir. 2004), Jolly v. Coughlin, 76 F.3d468, 482 (2d Cir. 1996) ("it is the alleged

             violation of a constitutional right that triggers a finding of irreparable harm"), the presumption of

             irreparable harm afforded constitutional claims appears to be impacted by the outcome of the

             Court's analysis of the likelihood of success on the merits element. See, et., We The Patriots USA,

             Inc., 17 F.4th at 294 ("Although Plaintiffs are subject to meaningful burdens on their religious

             practice if they choose to obtain the COVID-19 vaccine, because they have failed to demonstrate

             a likelihood of success on their First Amendment or other constitutional claims, their asserted harm

             is not of a constitutional dimension. Thus, Plaintiffs fail to meet the irreparable harm element

             simply by alleging an impairment of their Free Exercise right."), see also Brock v. City of New

             York, No. 21-CV-11094, 2022 WL 479256, at *4 (S.D.N.Y. Jan. 28, 2022) ("[T]h€ favorable

             presumption of irreparable harm arises only after a plaintiff has shown a likelihood of success on

             the merits of the constitutional claim.... Thus, when a plaintiff seeks injunctive relief based on

             an alleged constitutional deprivation, 'the two prongs of the preliminary injunction threshold

             merge into one ... in order to show irreparable injury, plaintiff must show a likelihood of success

             on the merits."' (quoting Tulley v. Giuliani, 86 F. Supp. 2d 291, 295 (S.D.N.Y. 2000))), Andre-

             Rodney v. Hochul, 569 F. Supp. 3d 128, 141-42 (N.D.N.Y. 2021) ("While an allegation of a

             constitutional violation is insufficient to automatically trigger a finding of irreparable harm, if the

             constitutional deprivation is convincingly shown and that violation carries noncompensable

             damages, a finding of irreparable harm is warranted.... To determine whether the constitutional

             deprivation is convincingly shown the Court must assess the likelihood of success on the merits.").

             In other words, once the Court considers and concludes that the likelihood of success element has




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             not been met, as it does here, the mere allegation of a constitutional violation is insufficient to

             establish irreparable harm.

                     Plaintiff also argues that "the loss of an opportunity to attend a particular school is

             irreparable injury in the sense that monetary damages cannot readily be fixed or, for that matter,

             compensate for the lost opportunity." (Reply at 22 (citing Foulke by Foulke v. Foulke, 896 F. Supp.

             158, 161 (S.D.N.Y. 1995)). Defendants argue, persuasively, that there is no actual imminent harm

             as this Court is not precluded from issuing an effective remedy at the end of a final trial on the

             merits with the benefit of a full trial record before it.15 Here, Member A is not yet 18 years old,

             and is a high-school senior who is applying to colleges now. (Doc. 8, "Member A Decl." W 1, 2,

             6). Member C is 18 years old and presently enrolled in college. (Doc. 25, "Member C Decl." W l,

             4). To be eligible for admission to West Point, "a candidate must be at least 17 years of age and

             must not have passed his twenty-third birthday on July 1 of the year in which he enters the

             Academy." 10 U.S.C. § 7446. Because Member A and Member C are far away from their twenty-

             third birthdays, there is significant time to remedy the alleged constitutional injury. Because

             Plaintiff has not sufficiently established that Member A and member C will "lose a year" of their

             lives and never catch up to their peers "in terms of military seniority" (Pl. Br. at 20), and because




             15 Defendants also argue, effectively, that Plaintiff's "theory of irreparable harm is premised on nothing
             more than 'an accumulation of inferences' ... [which] 'is simply too speculative and conjectural to supply
             a predicate for prospective injunctive relief." (Def. Br. at 16 (quoting Nachshen v. E. 14 Realty, LLC, No.
             18-CV-08304, 2019 WL 5460787, at *2 (S.D.N.Y. Oct. 9, 2019)). The steps required for Member A and
             Member C to suffer irreparable injury, all of which must come to pass, would be: (1) to "complete their
             West Point applications before January 31, 2024", (2) "be qualified", (3) "not be selected to fill a vacancy
             or qualified alternate slot", (4) "be considered for selection as Additional Appointees or Superintendent
             nominations", and (5) "ultimately not be selected for appointment because of West Point's limited
             consideration of race." (Id., see also Dec. 21, 2023 Tr. at 57:21-59:15) This "highly attenuated chain of
             possibilities," Superb Motors Inc. v. Deo, No. 23-CV-06188, 2023 WL 5952145, at *4 (E.D.N.Y. Aug. 25,
             2023), is insufficient to establish irreparable harm under the circumstances.
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             it is unclear whether Plaintiff is likely to succeed on the merits, Plaintiff has not established it will

             be irreparably harmed absent the requested injunction.16

                     IV. Public Interest and Balancing the Equities

                     "Under the last injunction factor, [the Court] must balance the competing claims of injury

             and must consider the effect on each party of the granting or withholding of the requested relief,

             as well as the public consequences in employing the extraordinary remedy of injunction." Yang,

             960 F.3d at 135-36, We The Patriots USA, Inc., 17 F.4th at 295 ("When the government is a party

             to the suit, our inquiries into the public interest and the balance of the equities merge"). A balancing

             of the equities has been described as "the hardship imposed on one party outweigh[ing] the benefit

             to the other." Ligon v. City of New York, 925 F. Supp. 2d 478, 540 (S.D.N.Y. 2013).

                     West Point is mid-admissions cycle. As of February 1, 2024, a new admissions cycle begins

             at West Point. But the prior year's admissions cycle, which began on February 1, 2023, continues

             into April of 2024 (see McDonald Decl., Ex. B). The requested injunction, to take effect on

             February l, 2024, would require the entire admissions policy to be changed, and a new policy be

             applied to the current applicant pool midstream, as well as to applicants to the new admissions

             cycle beginning on February 1, 2024. This result would not only affect the students who previously

             applied and are currently applying, but could require West Point to withdraw already offered

             appointments and LOAs. (McDonald Decl. 11 117, Dec. 21, 2023 Tr. 46:20-24). The requested

             preliminary injunction does more than disrupt a single admissions cycle, it impacts the carryover

             admissions process from the prior admissions year which began on February 1, 2023. Because

             Plaintiff has not clearly demonstrated a likelihood of success on the merits or that its members will


             16 The Court is not persuaded by Defendants' argument that Plaintiff' s alleged delay in filing this action
             and seeking emergency relief for the 2023-24 admissions cycle undercuts its claim of irreparable harm.
             Plaintiff sued and moved for a preliminary injunction only three months after the Supreme Court decided
             Harvard.

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             suffer irreparable harm absent injunctive relief, the balance of the equities does not tip in Plaintiff" s

             favor. As Plaintiff has not shown a likelihood of success on the merits of its constitutional violation

             claim, it has also failed to show that a preliminary injunction serves the public interest. We The

             Patriots USA, Inc., 17 F.4th at 296.

                      Accordingly, Plaintiff has not met its burden of proof with respect to likelihood of success

             on the merits of its claim, irreparable harm, or that the public interest weighs in favor of granting

             injunctive relief.

                                                        CONCLUSION

                      For the foregoing reasons, Plaintiff"s motion for a preliminary injunction is DENIED.

                      The Clerk of Court is respectfully directed to terminate the motion sequences pending at

             Docs. 6, 56, and 57.



                                                                SO ORDERED.

             Dated:    White Plains, New York
                       January 3, 2024

                                                                 PHiL1P M. HALPERN
                                                                 United States District Judge




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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK
               STUDENTS FOR FAIR ADMISSIONS,

                                                Plaintiff,

                                        v.
                                                                         23 Civ. 8262 (PMH)
               THE UNITED STATES MILITARY ACADEMY
               AT WEST POINT; THE UNITED STATES
               DEPARTMENT OF DEFENSE; LLOYD                           DECLARATION OF COLONEL
               AUSTIN, in his official capacity as Secretary of       DEBORAH J. MCDONALD
               Defense, CHRISTINE WORMUTH, in her
               official capacity as Secretary of the Army,
               LIEUTENANT GENERAL STEVEN GILLAND,
               in his official capacity as Superintendent of the
               United States Military Academy, and
               LIEUTENANT COLONEL RANCE LEE, in his
               official capacity as Director of Admissions for the
               United States Military Academy at West Point,

                                                 Defendants .




                    I, Deborah J. McDonald, pursuant to the provisions of 28 U.S.C. § 1746, declare, under

             penalty of perjury, as follows:

                    1.      I am the former Director of Admissions at the United States Military Academy at

             West Point and an instructor in the Department of Behavioral Sciences and Leadership .

                    2.      I am aware of the allegations made by the Plaintiff in this lawsuit. I submit this

             declaration in support of the Defendants' opposition to the Plaintiff' s motion for a preliminary

             injunction. All statements in this declaration are based on my personal knowledge or knowledge

             obtained in the course of my official duties.

                    3.      This declaration consists of eleven parts:

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                    Part I describes my professional background, including my experience as Director of
                    Admissions from 2008 to 2023 .
                    Part II provides general background on the U.S. Military Academy at West Point, its
                    admissions policies, and its admissions committees.
                    Part III explains the steps an applicant (or "candidate") must take to apply to West Point.
                    Part IV describes the Admissions Office's process for "quantifying" and "qualifying" a
                    candidate's application.
                    Part V explains how West Point selects candidates for appointment.
                    Part VI addresses how the Admissions Office uses "letters of assurance," i.e., conditional
                    offers of admission, as part of its recruitment efforts.
                    Part VII explains the limited ways in which West Point considers a candidate's race and
                    ethnicity as part of the admissions process.
                    Part VIII addresses how West Point's consideration of a candidate's race and ethnicity
                    has been necessary to advance the military's interests.
                    Part IX describes other race-neutral alternatives West Point has considered.
                    Part X explains the reasons that West Point uses demographic data.
                    Part XI explains how a preliminary injunction would impose significant harms on West
                    Point, current applicants to West Point, and the national security interests of the United
                    States.

             I.     Professional Background

                    4.        I attended West Point as a cadet from 1980 until 1985, when I commissioned into

             the Army on active duty as a transportation officer. I returned to West Point as an information

             management officer between 1995 and 1998. Since 2001, I have been stationed at West Point.

                    5.      In 2001, I began working in the Admissions Office as an Associate Director of

             Admissions. My responsibilities included overseeing the Admissions Office's budget,

             information technology, and marketing. From 2004 to 2008, I served as the Deputy Director of

             Admissions. In that role, my responsibilities included coordinating with Members of Congress,

             the Department of Defense, the Department of the Army, Army Cadet Command, the

             Department of Defense Medical Examination Review Board (DoDMERB), and other service

             academies in relation to West Point's accession and retention initiatives. I also led West Point's


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             recruitment efforts in areas with high numbers of potential applicants from historically

             underrepresented groups.

                    6.      In 2008, I was nominated and presidentially confirmed as West Point's Director

             of Admissions. In this role, I was responsible for enrolling high-quality classes at West Point, the

             United States Military Academy Preparatory School (USMAPS), and the West Point Preparatory

             Scholarship program (WPPSP). I also oversaw West Point's Admissions Directorate, which

             provides support throughout the admissions process to candidates, parents, Members of

             Congress, Field Force members (West Point's volunteer admissions representatives), and

             educators. Finally, in my role as the Director of Admissions, I synchronized efforts with the

             Army Reserve Officers' Training Corps (ROTC) to enhance the overall recruitment effort of

             commissioning sources and publicize Army officer opportunities to the youth and communities

             of America. I was Director of Admissions until July 1, 2023, when I stepped down in preparation

             for retirement. As the Director of Admissions, I worked under the direct supervision of the

             Superintendent of West Point. Currently, I serve as an Advisor to the Director of Admissions.

             II.    West Point's Admissions Policies and Committees

                    7.      The United States Military Academy at West Point was established in 1802. West

             Point is a four-year, federally established] undergraduate institution that prepares cadets to

             become leaders and officers in the United States Army. Upon entry at West Point, cadets are

             members of the Army. Each cadet receives an annual salary, room, board, medical, and dental

             care, and is subject to the Uniform Code of Military Justice.




             1 See 10 U.S.C. § 7431(a) (establishing "a United States Military Academy, at West Point, New
             York").
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                    8.       West Point's academic program is designed to develop cadets' critical thinking

             and creative problem-solving skills. Upon graduation, all cadets receive a Bachelor of Science

             degree and are fully prepared to meet the intellectual requirements of a leader in today's Army.

             In addition to course offerings in science, engineering, mathematics, the humanities, and social

             sciences, West Point offers courses in military instruction that are not offered outside of the

             military service academies. (This year's course offerings include, for example, "Special Ops:

             Theory & Practice," "Introduction to Warfighting," and "Platoon Operations.").

                    9.       In addition to completing academic course work, cadets must participate in

             rigorous military training and mandatory athletic activities. Upon graduation, cadets are

             commissioned as active-duty officers with an obligation to serve a minimum of five years. West

             Point is a significant source of officer commissions for the Army, it historically provides

             approximately 20% of those commissions, and West Point graduates comprise 33% of general

             officers in the Army. Accordingly, West Point is a vital pipeline to senior leadership in the

             Armed Forces.

                    10.      The Academy is under the immediate supervision and control of the Department

             of the Army. West Point's Superintendent is the commander of the Academy and the military

             installation on which it is located. In a typical year, more than 13,000 men and women apply for

             admission (or "appointment") to West Point. West Point offers approximately 1,800 candidates

             per year to fill approximately 1,200 first-year seats, though the particular numbers may vary by

             year. Under 10 U.S.C. § 7442, the authorized strength of the total Corps of Cadets of the

             Academy is capped at 4,400 cadets on the day before graduation.

                    11.      West Point maintains a rigorous, holistic merit-based admissions process. West

             Point's Admissions policies are governed by federal statute (10 U.S.C. §§ 7442-46), Department



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             of the Army Regulations, West Point Regulations, relevant National Collegiate Athletic

             Association (NCAA) Regulations, and internal guidance, including directives from West Point's

             Academic Board to its Admissions Committee. The most recent directive was issued on

             November 5, 2020 (the "Academic Board Directive," attached as Exhibit A). It remains in effect

             this admissions cycle.

                    12.     As set forth in the Academic Board Directive, West Point seeks to select

             candidates who (1) express interest in a career of service to the country as active-duty Army

             officers, (2) demonstrate high moral and ethical behavior, (3) demonstrate strong performance in

             high school, college, or the Army and are predicted to graduate from West Point, (4) manifest

             high levels of physical and emotional stamina, (5) are medically qualified for a commission upon

             graduation, (6) meet the needs of the future Army in talent and diversity, and (7) are committed

             to all-around excellence. See Academic Board Directive § 2(a). West Point also seeks to admit

             cadets with a range of talents, such as Leaders, Scholars, Athletes, and Soldiers, as well as a

             range of backgrounds. See id. § 2(b).

                    13.     West Point's admissions process is overseen by its Admissions Committee, which

             is a standing committee of 16 members of the Academic Board. The Committee is comprised of

             the Director of Admissions, Heads of the Departments of Mathematical Sciences, English and

             Philosophy, and Behavioral Sciences and Leadership, the Master of the Sword (Head of the

             Department of Physical Education), the Director of the Department of Military Instruction, the

             West Point Surgeon, a senior representative from the Athletic Department, representatives from

             five additional Academic Departments identified annually by the Dean of the Academic Board, a

             Regimental Tactical Officer, a Company Tactical Officer, and the Commandant of USMAPS.




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                    14.     The Admissions Committee evaluates and selects candidates for West Point,

             USMAPS, and WPPSP. The Admissions Committee also assists the Director of Admissions in

             creating recruitment strategies, recommends to the Academic Board criteria for admission and

             readmission of former cadets, international cadets, and cadet candidates to West Point,

             USMAPS, and WPPSP, and informs the Academic Board of candidates offered admission,

             including the profile of the new class as it develops.

                    15.     The Admissions Committee has a subcommittee, known as the Executive

             Committee, that is composed of the Director of Admissions, Department Heads of English and

             Philosophy, Mathematical Sciences, and Behavioral Sciences and Leadership, the Master of the

             Sword, the Admissions Committee representative from the athletic department, and a

             Regimental Tactical Officer. The Executive Committee's primary responsibilities are to make

             preliminary recommendations for candidates who have certain identified risk factors .

                    16.     The Admissions Office also houses the Diversity Outreach Office. The Diversity

             Outreach Office primarily conducts outreach to candidates from populations that are

             underrepresented at West Point. As further discussed below, the Diversity Outreach Office

             reviews African American, Hispanic, and Native American candidates' files to make preliminary

             recommendations for qualification or disqualification for admission and may also recommend

             these candidates for letters of assurance and Superintendent nominations (both discussed further

             below) after conducting a holistic review of the candidate's file. The Admissions Office does not

             forward applications from Asian and Pacific Islander candidates to the Diversity Outreach Office

             because Asian and Pacific Islander cadets typically make up a greater share of West Point cadets

             than Asian and Pacific Islander officers do of the Army officer corps, and, as discussed further




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             below, West Point has tied its talent and diversity goals to the demographics of the current

             officer corps in the active-duty component.

                    17.     West Point also has admissions teams for different geographic regions of the

             United States. Each regional team is led by an Admissions Regional Commander. As further

             discussed below, an admissions officer from the candidate's region reviews a candidate's file to

             make preliminary recommendations for qualification or disqualification for admission. Each

             Admissions Regional Commander may also recommend candidates in their regions for letters of

             assurance and Superintendent nominations (both discussed further below) after conducting a

             holistic review of the candidate's file?

                    18.     The Director of Admissions considers recommendations for letters of assurance

             for all candidates and is authorized to sign such letters without committee action as outlined in

             Section 5(a)(2)(b) of the Academic Board Directive. The Director of Admissions also considers

             recommendations for Superintendent nominations for all candidates.

             III.   Steps to Apply to West Point

                    19.     A West Point application contains six requirements: (1) the Candidate

             Questionnaire, (2) the Second Step Kit, (3) a Candidate Fitness Assessment, (4) a medical

             evaluation, (5) an interview, and (6) a nomination.

                    20.     Candidates can begin the application process no earlier than February 1st of the

             year before the candidate would enter West Point (their junior year for candidates applying




             2 Certain candidates are reviewed by specialized admissions officers rather than regional
             admissions officers. For example, athlete candidates are reviewed by athlete admissions officers,
             soldier candidates by soldier admissions officers, international candidates by international
             admissions officers, and former cadet candidates by former cadet admissions officers. For ease
             of reference, my use of "regional team" and "regional admissions officer" encompasses these
             specialized admissions officers.
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             directly from high school) by submitting the Candidate Questionnaire. Upon opening an

             application, and after around June 1st, candidates may complete the remaining steps, and must

             finish the process by January 31st of the year the candidate would enter West Point. However, if

             a candidate seeks a medical waiver, West Point provides until April 15th of the year the

             candidate would enter West Point to complete the medical qualification process. In addition,

             while West Point requests that Members of Congress submit their nominations no later than

             January 31st of the year the candidate would enter West Point, some Members might submit

             nominations thereafter.

                    21.     Using criteria explained below, West Point evaluates (or "qualifies or

             disqualifies") completed applications on a rolling basis and tenders most offers of admission

             between October and April of the year the candidate would enter West Point. A candidate must

             accept or decline an offer of appointment by May 1st of the year they would enter West Point.

             Each of the six requirements is discussed further below. West Point may tender offers of

             admission past May 1st depending on the acceptance rate at that time.

                    1. Step One: Candidate Questionnaire

                    22.     Unlike civilian universities, West Point admissions are governed by federal

             statutes and regulations that set forth specific eligibility criteria. For example, for appointment to

             West Point, a candidate must be at least 17 years old and not yet 23 years old by July 1st of the

             year they would enter West Point, be a U.S. citizen,3 not be married, pregnant, or legally




             3 Up to 60 international cadets may study at West Point at any given time. Eligible countries are
             selected on an annual basis by the U.S. State Department and the U.S. Department of Defense.
             While international cadets are fully assimilated into the Corps of Cadets, they do not commission
             into the U.S. Army upon graduation, and their admissions process is different from the process
             for U.S. candidates. The class of 2026 admitted 16 international cadets, and the class of 2027
             admitted 16 international cadets.
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             responsible for dependents, not have past felony convictions or drug abuse, not be a

             conscientious objector, and otherwise be of good moral character.

                    23.      The Candidate Questionnaire asks for candidates to self-report information,

             including their date of birth, citizenship, high school Grade Point Average (GPA), standardized

             test scores, extra-curricular activities, athletic participation, race and ethnicity, and gender,

             among other basic demographic information. The Candidate Questionnaire is used as an

             eligibility screening tool to determine if a candidate (1) meets the basic statutory eligibility

             requirements to receive an appointment to West Point, and (2) is likely to be competitive for

             admission. Candidate Questionnaires are reviewed by the candidate's assigned West Point

             admissions officer.

                    2. Step Two: Second Step Kit

                    24.      If the West Point admissions officer concludes that a candidate meets the

             eligibility requirements to attend West Point after a preliminary screening of the Candidate

             Questionnaire, the West Point admissions officer directs his or her regional team to open the

             Second Step Kit for that candidate. Typically, 80% of candidates screened with the Candidate

             Questionnaire move on to this phase.

                    25.      The Second Step Kit requires candidates to submit official school transcripts,

             official Scholastic Assessment Test (SAT), American College Testing (ACT), or Preliminary

             SAT (PSAT) results, short answer essay question responses, and four teacher evaluations. The

             Second Step Kit also asks candidates for additional basic demographic information, including

             whether the candidate is the first member of their immediate family (to include grandparents) to

             attend college, the candidate's combined family income, and language fluency. The Second Step




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             Kit must be completed no later than January 31st of the year the candidate would enter West

             Point.

                      3. Steps Three to Five: Candidate Fitness Assessment, Medical Evaluation, and
                            Interview

                      26.      At the same time that the Second Step Kit is opened to eligible candidates,

             candidates are directed to take a Candidate Fitness Assessment. The Candidate Fitness

             Assessment is a test of strength, agility, speed, and endurance. It consists of six events: 1)

             basketball throw, 2) cadence pull-ups or flexed-arm hang, 3) 40-yard shuttle run, 4) modified sit-

             ups, 5) push-ups, and 6) one mile run.

                      27.      Candidates must also undergo a medical evaluation by the DoDMERB .

                      28.      Finally, candidates must interview with a Field Force or Military Liaison Officer,

             a coach (if a recruited athlete), or their commander (if a soldier).

                      29.      These steps must be completed no later than January 31st of the year the

             candidate would enter West Point.

                      4. Step Six: Nomination

                      30.      As required by 10 U.S.C. § 7442, and unlike civilian universities, every candidate

             appointed to West Point must be nominated.

                      31.      There are two types of nominations. First, a candidate can receive a nomination

             from a member of the United States House of Representatives and Senate, the Vice President,

             Delegates to Congress from American Samoa, the District of Columbia, Guam, the Virgin

             Islands, and the Commonwealth of the Northern Marianas Islands, the Governor and the

             Resident Commissioner of Puerto Rico, and the Superintendent of West Point (a "statutory

             nominating authority"). See 10 U.S.C. § 7442(a)(2)-(10), (d). Second, a candidate can receive a

             "service-connected" nomination. See 10 U.S.C. § 7442(a)(1), (b)(1)-(4), (c).


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                            (i)    Statutory Nominating Authority

                    32.     Generally, nominations from Members of Congress, the Vice President, Delegates

             to Congress, and the Governor and Resident Commissioner of Puerto Rico make up 75% of West

             Point's cadet corps. The top fully qualified candidate appointed to West Point pursuant to

             nomination by a Member of Congress is "charged" to that member. When a Member of Congress

             has fewer than five charges at West Point at the end of an academic year, the Member is

             considered to have a vacancy for the following admissions cycle. For each vacancy, a Member of

             Congress can nominate up to ten individuals domiciled in his or her district or state. 10 U.S.C.

             § 7442(a). Typically, each year one vacancy per military service academy becomes available per

             Member of Congress. Members of Congress have virtually unlimited discretion to determine

             who they nominate and how their offices process and consider applications. West Point has no

             authority or control over which candidates Members of Congress nominate.

                    33.     Members of Congress are required to nominate their slate of candidates using one

             of three methods, as provided by 10 U.S.C. § 7442(a) and Department of Army Regulation 150-

             1, Chapter 3-4.

                    34.     First, Members can make nominations using the "competitive method," in which

             they submit nominees to the West Point Director of Admissions without any order of preference,

             leaving it to the Admissions Office to select one of the up to ten candidates within the

             nomination slate. See Army regulation 150-1, Chapter 3-4(a)(1). In this case, West Point ranks

             candidates within the slate (establishing "an order of merit") based on the candidates' Whole

             Candidate Score (explained below), a metric that does not incorporate or otherwise consider race

             or ethnicity. The fully qualified candidate with the highest Whole Candidate Score within a

             nomination slate will be offered an appointment.



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                      35.   Second, Members can use the "principal-competing alternate method," in which

             the Member indicates a principal nominee, and in the event that the principal nominee is not

             deemed fully qualified by West Point or declines an offer of appointment, the member defers to

             the Admissions Office to select among the remaining candidates on the nomination slate based

             on the candidates' Whole Candidate Score. Id. Chapter 3-4(a)(2).

                      36.   Third, Members can use the "principal-numbered alternate method," in which the

             Member identifies a principal, or first choice nominee, and provides a ranked list of alternates.

             Id. Chapter 3-4(a)(3). In this case, West Point must offer an appointment to the fully qualified

             candidate who is ranked highest on the Member's list, even if that candidate has a lower Whole

             Candidate Score than other individuals on the Member's list.

                      37.   While it varies by year, approximately 85% of Members use the competitive

             method.

                      38.   Regardless of the nominating method used by a Member of Congress, West Point

             must appoint one nominee for each congressional vacancy so long as at least one of the

             candidates included on the slate for that vacancy is fully qualified.

                      39.   Section 7442(a)(2) also provides the Vice President, like Members of Congress,

             with five West Point vacancies, typically, one vacancy opens per year that he or she will

             nominate to fill. The Vice President provides nominations to candidates from the country at

             large.

                      40.   Section 7442(a)(5)-(10) provides the District of Columbia and the various U.S.

             territories with three to six West Point vacancies. For each vacancy, they can nominate up to ten

             individuals using one of the three methods discussed above.




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                    41.     Finally, Section 7442(d) authorizes the West Point Superintendent to nominate up

             to 50 candidates per year from the country at large, so long as the cap on authorized strength of

             the total Corps of Cadets of the Academy is not exceeded. Superintendent nominations can be

             provided at any point in the admissions cycle once a candidate has successfully completed all

             other applications steps, is found to be qualified, and is missing only a nomination.

             Superintendent nominations are used for qualified candidates who West Point highly desires but

             who lack nominations from other sources. There are no statutory restrictions on the

             Superintendent's discretion to nominate candidates. Superintendent nominations are most often

             used to provide nominations for athletes early in the admissions cycle in order to compete with

             other Division 1 athletic programs. Because non-military schools do not require applicants to

             secure nominations, those schools can typically offer admission to applicants earlier in the

             admissions process than West Point, accordingly, the Superintendent can use this statutory

             authority to compete for highly sought-after athletes.

                    42.     Since 2008, the Superintendent has never exhausted his nominations for any given

             year. For example, for the class of 2027, the Superintendent provided only 17 nominations, for

             the class of 2026, he provided only 21 nominations.

                    43.     As a result of the nomination requirement, the statutory nominating authorities

             play a large, and often determinative, role in the selection process. That is because candidates

             typically compete against the other candidates in their nomination pool, rather than against the

             entirety of candidates applying to West Point.

                            (ii)    Service-Connected Nominations

                    44.     Title 10 also authorizes military service-connected nominations.




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                    45.      First, Section 7442(b)(1) provides for a presidential competitive category, in

             which the President may select 100 cadets per year who are children of certain members of the

             armed forces.

                    46.      Second, Section 7442(b)(2)-(4) provides that the Secretary of the Army may

             nominate 85 candidates per year from enlisted members of the Regular Army, 85 candidates per

             year from enlisted members of the reserve component of the Army, and 20 candidates per year

             from members of ROTC & Junior ROTC .

                    47.      Third, Section 7442(a)(1) provides that 65 West Point slots may be filled with

             "children of members of the armed forces who were killed in action or died of, or have a service-

             connected disability rated at not less than 100[%] resulting from, wounds or injuries received ...
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             [in] active service," as well as children of military or civilian personnel in a "missing status.

                    48.      Fourth, Section 7442(c) provides that the President is authorized to appoint

             children of persons who have been awarded the Medal of Honor.

             Iv.    Quantification and Qualification of Candidate Files

                    1. File Quantification and the Whole Candidate Score

                    49.      After a candidate completes the Candidate Questionnaire, the Admissions Office

             assigns a numerical score to the candidate's file as part of a process known as file

             "quantification." See Academic Board Directive § 4(a). This numerical score-known as the

             Whole Candidate Score-is initially based on self-reported data provided by the candidate in the

             Candidate Questionnaire and is one of the most important indicators for initial screening of a

             candidate's file.

                    50.      The formula for calculating the Whole Candidate Score is set forth in Annex A to

             the Academic Board Directive.



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                    51.     Sixty percent of the Whole Candidate Score derives from a candidate's academic

             qualifications, calculated from their standardized test scores and high school GPA.

                    52.     Thirty percent of the Whole Candidate Score derives from the candidate's

             Community Leader Score, which is based on extracurricular activities, sports participation, and

             evaluations from school officials.

                    53.     The final ten percent of the Whole Candidate Score comes from the Candidate

             Fitness Assessment.

                    54.     The Whole Candidate Score fluctuates during the application window and can

             increase or decrease until the candidate completes their application. For example, a Whole

             Candidate Score generated from the candidate's self-reported information contained in the

             Candidate Questionnaire may increase if the candidate submits higher verified standardized test

             scores or a higher official GPA. The Whole Candidate Score may decrease if the candidate does

             poorly on the Candidate Fitness Assessment or receives unfavorable school official evaluations.

                    55.     Race or ethnicity are not factors in the Whole Candidate Score.

                    56.     The Admissions Committee can adjust a Whole Candidate Score by plus or minus

             10% of the candidate's Whole Candidate Score to allow for the special nature of school

             programs, significant work experience during the school year, special accomplishments, personal

             achievements of a significant nature, international studies, foreign language expertise, or

             information of a negative nature not strong enough to disqualify a candidate. For example, the

             Whole Candidate Score does not consider a candidate's performance in college if the candidate

             has taken university courses. If the candidate performed well in the candidate's college courses, a

             positive Whole Candidate Score adjustment may be warranted. Conversely, if a candidate




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             performed poorly in the candidate's college courses, a negative Whole Candidate Score

             adjustment may be warranted.

                    57.     When a candidate is considered for a Whole Candidate Score adjustment, the

             appropriate Regional Commander will present the case and the extenuating circumstances to the

             department responsible for consideration and approval of a Whole Candidate Score adjustment.

             These adjustments will be identified on the admission slate for each candidate SO that the entire

             Admissions Committee can identify the candidates receiving a Whole Candidate Score

             adjustment.

                    58.     Race and ethnicity are not considered when making a Whole Candidate Score

             adjustment.

                    2. File Qualification

                    59.     After the Admissions Office assigns a Whole Candidate Score to a candidate,

             West Point undertakes a three-step review process to determine whether a candidate is

             "qualified" or "not qualified." See Academic Board Directive § 4(b). First, the admissions officer

             assigned to the candidate conducts a first review. If a candidate indicates that they are African

             American, Hispanic, or Native American in their Candidate Questionnaire, this first review is

             conducted by the Diversity Outreach Office. Other candidates' first reviews are conducted by a

             regional admissions officer. Regardless of who a candidate is first reviewed by, admissions

             officers apply the same qualification standards and review processes (described further below) to

             all candidates. After the first review, for all candidates, a member of the admissions committee

             (non-admissions staff or faculty) conducts a second review, and another admissions officer

             conducts a third review.




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                    60.     The reviewing officials confirm that candidates meet the academic, leadership,

             and physical standards as reflected in the Whole Candidate Score. The reviewing officials also

             provide an individualized, holistic evaluation considering the subjective components of the

             application, including essay answers, interview results, writing samples, and comments from

             school officials. The admissions officers determine if the candidate is academically and

             physically qualified. If any of the three reviewers disagree, the candidate's status is reviewed by

             the Admissions Committee, whose decisions are determined by a simple majority.

                    61.     Standards for academic qualification are determined by the Director of

             Admissions, with approval by the Academic Board. By law, a candidate admitted to West Point

             "must show, by an examination held under regulations prescribed by the Secretary of the Army,

             that he is qualified in the subjects prescribed by the Secretary." 10 U.S.C. § 7446(b). Using the

             statute's guidance, West Point uses indicators of success typical in post-secondary education

             subjects such as math, engineering, and English and also incorporates indicators of candidate

             leadership potential. Physical qualification thresholds are established by the Director of

             Admissions in consultation with the Master of the Sword, and then approved by the Academic

             Board. DoDMERB determines minimum medical qualification.

                    62.     For the current admissions cycle, preliminary academic indicators for

             qualification include a GPA in the top 81% of the candidate's high school class, an SAT Math

             score at or above 570, and an SAT Evidence-Based Reading and Writing Score at or above 550.

             (The Academic Board Directive sets out similar indicators for ACT scores). See Academic Board

             Directive § 4(b).

                    63.     Candidates who pass the preliminary academic review process are considered to

             be academically qualified candidates. The academic assessment is only one attribute of the



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             qualification process. As noted, candidates must also be reviewed for medical qualification, and

             the physical and leadership components of the Whole Candidate Score. Any candidate who is

             deemed to be at risk in any of these areas will be presented to the Admissions Committee or the

             Executive Committee for qualification or disqualification. Being "at risk" in any of these

             components does not automatically disqualify a candidate.

                    64.     Race and ethnicity are not factors in determining the qualification of a candidate.

             v.     Selection of Candidates

                    65.     West Point evaluates completed applications for admission on a rolling basis each

             year between August of the year before the candidate would enter West Point and April or May

             of the year of entry (candidates' senior year of high school for those applying directly from high

             school). When a candidate is deemed qualified, the file returns to the Director of Admissions,

             who works to build a class of cadets. Selection is based on order of merit (or order specified by

             Member of Congress, where applicable) within the types of nominations obtained by candidates.

             See Academic Board Directive § 5(a). Out of order of merit selection will only be made for

             Additional Appointees (described further below) and Superintendent nominations. Id.

                    66.     Specifically, all candidates receiving a nomination using the competitive method

             (i.e., the statutory nominating authority gives West Point the discretion to choose among

             nominees) are selected for appointment based on order of merit by their Whole Candidate Score.

             For example, if a Member of Congress nominated ten candidates via the competitive method for

             one vacancy, West Point would offer admission to the fully qualified candidate with the highest

             Whole Candidate Score among the ten nominated within that district or state. Because candidates

             are ranked by Whole Candidate Score within each congressional district or state, the highest

             Whole Candidate Score among congressional vacancy winners can vary significantly under the



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             competitive method. Candidates in highly competitive congressional districts may not win the

             congressional vacancy despite having significantly higher Whole Candidate Scores than

             similarly situated candidates from less competitive districts.

                    67.     West Point uses the same process for candidates with service-connected

             nominations, such as a Presidential nomination-i.e., West Point ranks the candidates in order of

             merit based on the candidates' Whole Candidate Score. Race and ethnicity play no role in this

             process.

                    68.     For congressional slates where Members of Congress have chosen other

             nomination methods, designating nominees as a principal nominee or numbered alternate, the

             Admissions Office must consider selection in the sequence specified by the Member of

             Congress. In other words, a qualified candidate with a lower Whole Candidate Score relative to

             other candidates from that district may receive an offer of appointment simply because the

             Member of Congress designated that candidate as a principal nominee or numbered alternate.

             Again, West Point does not consider race or ethnicity in this selection process.

                    69.     When a qualified candidate will clearly win a vacancy, he or she will be placed on

             an admissions slate, which is voted on by a quorum of the Admissions Committee. Most

             appointment offers will be tendered from January through April of the year the candidate would

             enter West Point once West Point receives congressional nominations from the various Members

             of Congress and as candidates complete the medical evaluation. Appointment offers made before

             January are usually for candidates with a non-congressional nominating source, as those

             nominations are generally received before the congressional nominations.




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                    70.     If a qualified candidate is not selected for appointment for the vacancy for which

             he or she was nominated, that candidate may still be offered an appointment under two other

             statutory provisions.

                                a. First, a candidate may receive an appointment as a qualified alternate.

                                     Specifically, Title 10 authorizes West Point to appoint 150 qualified

                                     alternates to the incoming class from among the pool of qualified

                                     candidates who received nominations from a Member of Congress,

                                     Delegate in Congress, the Resident Commissioner from Puerto Rico, or

                                     the Governor of Puerto Rico but did not win the vacancy. 10 U.S.C.

                                     § 7442(b)(5). These nominees compete against each other in a nationwide

                                     pool of qualified alternates, with the 150 highest-ranked candidates

                                     selected by "order of merit," defined as the 150 candidates with the

                                     highest Whole Candidate Score. See Academic Board Directive § 5(a).

                                     Race and ethnicity are not factors in determining the order of merit of

                                     qualified alternates .

                                b. Second, if vacancies in the incoming class of cadets remain following all

                                     the appointments otherwise authorized by law, 10 U.S.C. § 7443 provides

                                     that the Secretary of the Army may fill vacancies "[i]fit is determined

                                     that, upon the admission of a new class to the Academy, the number of

                                     cadets at the Academy will be below the authorized number." As such,

                                     Section 7443 provides for the appointment of additional cadets from

                                     among the remaining qualified nominees, with a nomination from any

                                     nominating source. These appointment offers are labeled "Additional



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                                   Appointees." Section 7443 does not require Additional Appointees to be

                                   selected by order of merit. During every year that I was Director of

                                   Admissions, it was necessary to make offers of appointment to Additional

                                   Appointees to meet the entering class size of around 1,200 cadets. For the

                                   class of 2026, 284 candidates were provided offers of appointment as

                                   Additional Appointees, for the class of 2027, 364 candidates were

                                   provided offers of appointment as Additional Appointees. As explained

                                   below, race and ethnicity are one of many factors that the Admissions

                                   Committee may consider as part of a holistic assessment in extending

                                   offers to Additional Appointees.

             VI.    Letters of Assurance

                    71.     Due to statutory, regulatory, and policy constraints not applicable to civilian

             universities, West Point cannot provide early admission decisions. In consideration of this

             limitation, the Admissions Office uses a recruiting tool referred to as a Letter of Assurance

             (LOA) to encourage competitive candidates to quickly complete their application process.

                    72.     To be considered for an LOA, a candidate must have completed the Candidate

             Questionnaire (Step One in the admissions process), submitted their 6th semester high school

             transcript and a verifiable PSAT, ACT, or SAT score, and completed an interview. A candidate

             need not have completed the Second Step Kit, Candidate Fitness Assessment, or medical

             evaluation, or have received a nomination to be considered for an LOA.

                    73.     An LOA constitutes a firm commitment from West Point to the candidate that the

             candidate will be admitted-provided that the candidate meets the conditions in the letter. See

             Academic Board Directive § 2(a). If a candidate receives an LOA, he or she must complete the



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             application and pass physical fitness standards within 60 days of the issuance of the LOA,

             become medically qualified by April 15, and receive a nomination. If a candidate fails to meet

             any one of these conditions, the candidate will not receive an appointment.

                    74.     The Director of Admissions provides guidance on how many LOAs are available

             in each admissions cycle, as West Point must be careful to balance incentives to candidates to

             complete the rigorous and time-consuming application with the countervailing statutory cap on

             the total number of cadets. There is no quota system or other numerical requirement in issuing

             LOAs. The guidance for the class of 2028 is attached as Exhibit B.

                    75.     To determine who should be offered an LOA, admissions officers and their

             supervisors review Candidate Questionnaires, 6th semester high school transcripts, verifiable

             standardized test scores, and interviews and identify promising candidates within several

             categories, including those with particular talents (Soldier, Athlete, Scholar) and/or those who

             are diverse (African American, Hispanic, Native American, Women).4

                    76.     A Soldier is an enlisted member of the Regular Army (i.e., active duty) or

             Reserve Component who has completed Advanced Individual Training and has an assessment

             from their commander in their file. An Athlete is a candidate who has been "chipped," a special

             designation by a West Point coach that a recruited athlete should receive an LOA. A Scholar is a

             candidate whose academic performance predictor, as known as the College Entrance

             Examination Rank (CEER) score, is greater than or equal to a specified value. A CEER score is

             calculated using a candidate's standardized test scores and high school GPA. These categories

             are reviewed yearly and may change depending on the admissions landscape.




             4 Soldiers and Native American candidates are included in these categories though they do not
             appear in Exhibit B.
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                    77.     The Admissions Office conducts an individualized, holistic review of candidates

             before offering an LOA. Specifically, an admissions officer screens the application based on

             Candidate Questionnaire, high school transcript, verifiable standardized test scores, and

             interview. The admissions officer also identifies risk areas, such as substandard test scores in

             either math or reading, a low Community Leader Score, or issues concerning moral turpitude.

             Based on that review, the Director of Admissions issues LOAs to approved candidates in

             accordance with the Academic Board Directive. LOAs are typically issued between July and

             September of the year before a candidate would enter West Point (a candidate's senior year if

             applying directly from high school).

                    78.     If a candidate indicates that they are African American, Hispanic, or Native

             American in their Candidate Questionnaire, the LOA screening process described above is

             performed by the Diversity Outreach Office. Other candidates are screened by regional teams.

             Both the Diversity Outreach Office and the regional teams make their LOA recommendations to

             the Director of Admissions, who considers recommendations for LOAs for all candidates and is

             authorized to sign such letters without committee action as outlined in Section 5(a)(2)(b) of the

             Academic Board Directive

                    79.     After West Point provides an LOA to a candidate, the candidate has 60 days from

             the date of issuance to complete the application, except for the medical qualification and

             securing a nomination, which can occur after the 60-day deadline has ended. If the candidate

             does not complete their application within 60 days, the LOA is revoked. Likewise, if the

             candidate does not receive the required medical qualification and nomination, the LOA is

             revoked.




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             VII.   West Point's Limited Consideration of Race and Ethnicity in the Admissions
                    Process

                    80.      West Point considers race and ethnicity flexibly as a plus factor in its

             individualized, holistic assessment of African American, Hispanic, and Native American

             candidates at three limited stages of the admissions process. West Point adopted its current

             policies after decades of experience led the Armed Forces to recognize that building a cohesive

             fighting force that is highly qualified and broadly diverse is "integral to overall readiness and

             mission accomplishment.995

                    81.      Until the late 19605, African American cadets did not enter West Point in

             substantial numbers. By 1968, West Point had graduated 27,969 cadets, of which very few were

             African American. In 1978, the Admissions Office first established class composition goals and

             created a Diversity Outreach Office to work on increasing cadet corps diversity. During the

             1990s, the Admissions Office considered race and ethnicity in admissions and worked to

             advance diversity initiatives to bring in geographically, experientially, and racially and ethnically

             diverse classes.

                    82.      While the numbers of cadets from underrepresented demographics increased in

             the 1980s and 1990s, the gains were not significant. For example, in the entering class of 2000,

             the number of African American cadets was approximately 65 (6% of the men entering the class

             and 9% of the women entering the class). The number of women cadets entering that same year

             was 188, comprising 15.9% of the entering class. Given these relatively low numbers, the

             Admissions Office intensified its efforts to offer admission to candidates from underrepresented

             demographics.


             5 See Department of Defense, Department of Defense Board on Diversity and Inclusion Report:
             Recommendations to Improve Racial and Ethnic Diversity and Inclusion in the U.S. Military 3
             (2020).
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                    83.     In 2013, based on the continued underrepresentation of previously excluded

             groups in the Army's officer corps, the Chief of Staff of the Army, General Raymond T.

             Odierno, directed West Point to increase diversity among its cadets, and specifically to increase

             the number of African American and women cadets.

                    84.     As the Director of Admissions, I worked to implement this directive, in

             conjunction with broader Department of Defense (DoD) diversity goals. Specifically, my

             aspirational goal was to try to at least mirror the demographics of the Army officer corps in each

             graduating West Point class. At the time, the Army officer corps was far more diverse than the

             West Point cadet corps-for example, African Americans constituted 14% of the officer corps

             but only 8% of West Point cadets. Because of the military's closed personnel system, it was vital

             that West Point provide the Army with a pipeline of officers who would keep pace with the

             progress towards diversity that the Army had achieved elsewhere .

                    85.     As a result, since General Odierno's direction, West Point has tied its talent and

             diversity goals to the demographics of the current officer corps in the active-duty component.

             For example, the current percentage of African Americans in the active-duty officer corps is

             11%. The Admissions Office set an aspirational diversity goal of 14% African American cadets

             for the class of 2027. This goal was set higher than the current percentage of African Americans

             in the active-duty officer corps to account for attrition between entrance to West Point and

             graduation. For the class of 2027, the Admissions Office also had aspirational diversity goals of

             11% for Hispanic cadets, 5% for Asian cadets, and 20% for women cadets, as well as talent goals

             of23% Athletes, 30% Scholars, 15% Leaders, and 5% Soldiers. The Admissions Office did not

             include Native American and Pacific Islander cadets in its diversity goals because these




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             candidates make up a very small percentage of the applicant pool and cadet corps. These

             diversity and talent goals do not operate as ceilings or floors. Nor do the goals operate as quotas.

                    86.     West Point offers appointment by merit and will not offer appointment to

             unqualified candidates regardless of its diversity and talent goals. In other words, an otherwise

             unqualified candidate will not be offered an appointment based on his or her race or ethnicity.

             Indeed, during many application cycles, West Point does not meet its talent and diversity goals.

             For example, for the class of 2027, West Point did not meet its aspirational goals for Women,

             Athletes, African Americans, or Hispanic cadets. Despite not achieving its talent and diversity

             goals, West Point did not offer appointments to additional candidates based on their race or

             ethnicity to achieve a numerical goal.

                    87.     Similarly, these aspirational goals do not act as a ceiling. For example, for the

             class of 2027, West Point provided more offers of appointment to Asian cadets, Leaders,

             Scholars, and Soldiers than set out in its 2027 talent and diversity goals but did not stop offering

             admission to highly qualified candidates simply because the goal was met. West Point seeks to

             admit the highest quality candidates based solely on merit. (Annex B of the Academic Board

             Directive provides West Point's class composition goals).

                    88.     Since 2013, West Point has seen a gradual increase in the percentage of cadets

             from underrepresented racial or ethnic demographics. For the class of 2013, West Point had

             6.9% African American cadets, 6.3% Asian cadets, 0.8% Native American cadets, and 9.4%

             Hispanic cadets, for the class of 2027, West Point has 10% African American cadets, 13.5%

             Asian cadets, 0.9% Native American cadets, and 11.4% Hispanic cadets.

                    89.     Although West Point holistically considers race and ethnicity among many other

             factors at three limited points in the application process, it does not affect most West Point



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             appointments. As discussed above, a candidate's race or ethnicity plays no role in West Point's

             selection of candidates to fill congressional vacancies, non-congressional vacancies, or qualified

             alternate slots, all of which are filled in order of merit based on Whole Candidate Score (or as

             specified by Member of Congress, where applicable). Thus, for the class of 2027, consideration

             of race or ethnicity did not impact any of the 906 appointments (71% of total appointments)

             made under those nominating sources. Nor did it impact the 935 similar appointments made in

             2026 (77% of total appointments).

                    90.     Race and ethnicity, among other criteria, may affect the admissions process at

             only the following three stages.

                    91.     First, early in the admissions cycle, the Admissions Office may consider race and

             ethnicity flexibly as a plus factor in deciding to offer an LOA to an African American, Hispanic,

             or Native American candidate after reviewing the Candidate Questionnaire, 6th semester high

             school transcript, verifiable standardized test scores, and interview. As noted, the Director of

             Admissions provides guidance each year on how many LOAs are available. See Exhibit B, 2028

             Admissions Guidance § 6. That guidance also addresses when LOAs may be appropriate

             depending on a candidate's CEER score and Whole Candidate Score. Id. For example, the 2028

             guidance notes that LOAs may be appropriate for African American candidates with a CEER

             score at or above 554. Id. Even if an African American candidate exceeds this CEER score,

             however, the Admissions Office may decide not to offer the candidate an LOA. As noted, the

             Office's review of each candidate is holistic, and the guidelines set forth in the Admissions

             Director's guidance are advisory only. The Director retains discretion not to offer an LOA to a

             candidate for any reason. And if a candidate receives an LOA, that is not a guarantee of




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             admission-a candidate must still satisfactorily complete the remaining steps of the admissions

             process, if the candidate does not do so, West Point will not offer admission.

                      92.   For the class of 2027, West Point offered 675 LOAs. White candidates received

             480 (71%) based on, among other things, their demonstrated talents as Soldiers, Athletes, or

             Scholars. For the class of 2026, West Point offered 484 LOAs. White candidates received 315

             (65. l%), again based on, among other things, their demonstrated talents as Soldiers, Athletes, or

             Scholars .

                      93.   Second, at the end of the admissions cycle, if West Point has not reached its class

             size, West Point may make offers to "Additional Appointees." The class of 2026 had 284

             Additional Appointees. The class of 2027 had 364 Additional Appointees. Race and ethnicity

             may affect offers of admission to Additional Appointees at this final stage of admissions in two

             ways .

                                a. First, a qualified candidate who is not selected to fill a congressional

                                   vacancy, non-congressional vacancy, or qualified alternate slot but has an

                                   LOA-which, as discussed above, may (or may not) be based in part on

                                   race and ethnicity as one factor in an individualized, holistic assessment-

                                   will receive an offer of appointment as an Additional Appointee. For the

                                   class of 2027, 170 Additional Appointees had LOAs. Of those, 142 were

                                   white. For the class of 2026, 168 Additional Appointees had LOAs. Of

                                   those, 113 were white.

                               b. The Admissions Committee may also make offers of appointment as

                                   Additional Appointees to candidates who competed for nomination and

                                   were found qualified but did not receive LOAs. In doing so, the



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                                   Admissions Committee may consider race and ethnicity flexibly as a plus

                                   factor for African American, Hispanic, and Native American candidates in

                                   its holistic assessment of candidates to identify those who are expected to

                                   make valuable contributions based on their demonstrated leadership,

                                   athleticism, scholastic aptitude, past experience as a solider, and diverse

                                   background. For the Class of2027, West Point had 996 Additional

                                   Appointees admitted to the class who did not have an LOA. Of these 99

                                   Additional Appointees, 86 were white. For the Class of 2026, West Point

                                   had 55 Additional Appointees who were admitted to the class who did not

                                   have an LOA. Of these 55 Additional Appointees, 45 were white.

                                C. Not including Additional Appointees appointed to West Point from

                                   USMAPS, 61% of Additional Appointees in the class of 2026 and 72% in

                                   the class of 2027 respectively were white.

                                d. For all Additional Appointees who are extended offers of appointment,

                                   race and ethnicity are only one factor among many other qualities and

                                   experiences that West Point considers valuable contributions to the cadet

                                   environment. For both 2026 and 2027, West Point made offers of

                                   appointment to white candidates whose Whole Candidate Scores were

                                   lower than qualified non-white candidates who were not offered

                                   app o infment .

                    94.     Third, throughout the admissions cycle, admissions officers conduct a holistic

             review of all candidates to identify qualified candidates who are highly desired for the valuable



             6 Not including Additional Appointees appointed to West Point from USMAPS .
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             contributions they are expected to make (based on their demonstrated leadership, athleticism,

             scholastic aptitude, past experience as a soldier, and diverse background) but who lack a

             nomination and may warrant a Superintendent nomination. If the Diversity Outreach Office

             determines that an African American, Hispanic, or Native American candidate is otherwise

             qualified for admission but has not received a nomination, the Office may recommend that the

             Director of Admissions recommend the candidate for a Superintendent nomination. Both the

             Diversity Outreach Office and the regional teams make their Superintendent nomination

             recommendations to the Director of Admissions, who considers recommendations for all

             candidates and then makes recommendations to the Superintendent as to which candidates

             should receive Superintendent nominations. As noted, the Superintendent may nominate up to 50

             candidates per year, and most of those nominations go to athletes. Since 2008, the

             Superintendent has never exhausted his nominations in any given year. For the class of 2027, he

             provided only 16 nominations, of which all 16 were provided because the candidates were

             athletes. For the class of 2026, the Superintendent provided 19 nominations, of which 15 were

             provided because the candidates were athletes. Of the four non-athlete Superintendent

             nominations provided for the class of 2027, all four were to white candidates.7

                    95.     To the extent West Point considers race and ethnicity in the admissions process, it

             does SO to further the military's unique interests in developing a diverse officer corps. It does not

             consider race and ethnicity based on a belief that minority cadets always express a characteristic



             7 In prior years, a candidate's race or ethnicity could also potentially play a role in whether the
             Admissions Office opened the "second step kit" for a candidate. As explained above, however,
             most candidates (around 80%) make it to this phase of the application process. Thus, as a
             practical matter, it is highly unlikely that any consideration of race or ethnicity at this stage
             affected whether a candidate was ultimately selected for an appointment. In any event, West
             Point does not intend to continue considering race and ethnicity at this stage in future admissions
             cycles.
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             minority viewpoint on an issue. And because West Point has made substantial progress toward

             its goal of a fully integrated, highly qualified, and diverse Corps of Cadets, its use of race and

             ethnicity in the admissions process has become more limited in recent years.

                    96.     West Point also does not intend to use race and ethnicity as a factor in admissions

             indefinitely. The Admissions Office reviews its talent and diversity goals bi-annually in

             conjunction with its review of demographic information provided by DoD. During my tenure as

             Director of Admissions, I adapted our policies when appropriate. For example, around 2014, the

             Admissions Office stopped its practice of forwarding Hispanic candidates to the Diversity

             Outreach Office because our qualified candidate pool of Hispanic candidates had grown

             considerably, and so I concluded that we could manage their admissions files within the regional

             teams. I understand that the Admissions Office has recently started referring Hispanic candidates

             to the Diversity Outreach Office again due to a drop in the acceptance rate of such candidates,

             but this example underscores that West Point will adapt (and has adapted) its policies when

             continued consideration of race and ethnicity becomes unnecessary.

             VIII. West Point's Limited Consideration of Race and Ethnicity Has Been Necessary to
                   Achieve the Army's Compelling Interests

                    97.     DoD, the Army, and West Point have each concluded that it is critical to the

             Nation's military strength and readiness to maintain a pipeline of military officers who are highly

             qualified, diverse, and trained to succeed in an increasingly diverse environment. As West

             Point's Superintendent, Lieutenant General Steven W. Gilland, explained in a recent statement to

             Congress, West Point's mission is "[t]o educate, train, and inspire the Corps of Cadets so that

             each graduate is a commissioned leader of character committed to the values of Duty, Honor,

             Country and prepared for a career of professional excellence and service to the Nation as an

             officer in the United States Army." Admissions, Curriculum, and Diversity of Thought at the


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             Military Service Academies: Hearing Before the H. Armed Servs. Comm., Subcomm. on Mil.

             Personnel, 118th Cong. (2023) (statement of Lieutenant General Gilland, Superintendent of

             West Point).8 As part of its mission, West Point seeks to commission leaders with foundational

             professional knowledge, skills, and the moral character required to support and defend the

             Constitution and serve as Army officers. The Nation places special trust and confidence in West

             Point graduates who accept commissions to serve as Army officers. The Nation expects its

             officers to wield lethal force in an ethical manner, to care for the Soldiers in their units, and to

             exercise stewardship over the Army Profession, while seizing the initiative to accomplish

             missions in a complex, decentralized operating environment.

                     98.     As Lieutenant General Gilland has explained, to complete its mission, West Point

             focuses on three lines of effort. First, West Point builds diverse and effective winning teams

             through an inclusive cadet corps, staff, and faculty to develop more effective leaders who

             faithfully represent the Army and the Nation. Second, West Point develops leaders of character

             to generate leaders prepared to fight and win wars. Finally, West Point cultivates a culture of

             character growth that includes creating and sustaining a safe and secure environment built on

             trust, dignity, and respect.

                     99.     As part of the development of leaders, character development ranks as the most

             important. West Point's leadership model is designed to produce leaders capable of mastering the

             challenges of modern warfare. West Point begins the process by creating trust and serving as the

             foundation for building cohesive teams and sustaining readiness. As part of its curriculum, West

             Point promotes an academic environment where debate is encouraged, ideas are challenged, and




             8 Lieutenant General Gilland's full statement is available at https://perma.cc/6YXQ-A8WJ.
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             honest feedback is expected. West Point does not advocate for one perspective, instead, it

             teaches cadets how to think effectively and analytically.

                    100.    A common principle within the Army is to "train how you fight." West Point

             cannot effectively train future officers to lead a diverse force without training the cadets to

             operate in a diverse environment. West Point has concluded, based on its assessment of its

             candidate pool and educational needs, that limited consideration of race and ethnicity in

             admissions is necessary to West Point's mission of training future military leaders of character.

                    101.    West Point's purpose is to produce leaders of character who are prepared to

             provide selfless service to our Army and our nation. The West Point admissions process aims to

             create a diverse corps of cadets, which is essential to West Point's educational mission and to the

             larger mission of the Army, for several reasons. First, West Point has determined that diversity

             helps prepare cadets to lead a multicultural force and fight alongside the U.S.'s diverse partners

             and allies. Army officers must be comfortable leading individuals notwithstanding racial,

             cultural, linguistic, or other differences, and officers must be prepared to critically evaluate

             competing perspectives as they make life and death decisions under the stress of combat. As a

             result, West Point persists in drawing upon the widest possible set of backgrounds, talents, and

             skills to maximize the Army's warfighting capability.

                    102.    Second, a diverse cadet corps enhances appreciation, respect, and empathy, which

             are essential for military cohesion. Officers are expected to display integrity and honor, have

             empathy, and positively influence others. Cultural competency facilitates trust, which is key to

             achieving common goals in disciplined, cohesive teams. A diverse and inclusive environment

             pushes cadets beyond their comfort level so they can develop as agile and resilient critical




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             thinkers who can successfully lead Soldiers in complex and uncertain environments across the

             world.

                      103.   Third, diversity at West Point is critical to maintaining diversity in the officer

             corps-diversity that the Army has worked for years to achieve. Unlike other institutions in the

             United States, the military is a closed personnel system. Officers are developed internally, the

             military does not hire its officer corps laterally, as a corporation might. The military's future

             leadership will necessarily be drawn from those who join the military today. Current senior

             Army leadership accessed into the Army in the 1980s and 1990s. For example, General Randy

             George, the current Chief of Staff of the United States Army, graduated and accessed into the

             Army's officer corps from West Point in 1984. As a result of the nature of the closed loop

             system of the military career lifecycle, it is of critical importance to ensure diversity in initial

             officer accessions, especially accessions through West Point, since approximately 20% of new

             Army officers each year are West Point graduates, and a disproportionate percentage (33%) of

             Army general officers are West Point graduates

                      104.   Fourth, a diverse Corps of Cadets ensures an inclusive multifaceted environment

             for all cadets, thus ensuring that West Point can attract top talent in the nation from all

             backgrounds. Eliminating tailored consideration of race and ethnicity in admissions would lower

             acceptance and enrollment rates of diverse candidates, thus shrinking the pool of qualified officer

             candidates from diverse racial and ethnic backgrounds. Maintaining diversity in the corps of

             cadets is key to spurring a sense of belonging, it helps cadets feel like an integrated part of the



             9 To become an officer in the Army, an individual must either graduate from West Point, attend a
             civilian college or university while participating in an ROTC program, attend Officer Candidate
             School after graduating from college, receive a direct commission after earning a professional
             degree, or advance through the enlisted ranks and then complete one of these officer training
             programs.
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             academic community and encourages cadets to engage freely with each other. Prohibiting

             consideration of race in admissions at West Point would reduce the number of officers of all

             backgrounds exposed to a diverse educational experience.

             IX.    West Point's Consideration of Race-Neutral Alternatives

                    105.    West Point uses several alternative methods to increase racial diversity. However,

             these alternative methods alone have failed to produce the level of diversity in the Corps of

             Cadets that is necessary to achieve the Army's compelling interests. First, West Point has

             marketed to specific underrepresented demographics through an enrollment management

             company with the goal of increasing the pool of diverse candidates. However, when West Point

             increased marketing to diverse populations, the number of completed applications declined and

             the acceptance rates for Hispanic and African American candidates declined. This decline may

             have been the result of the broader declining interest of young people to attend college and the

             decreasing propensity overall for military service in today's youth.

                    106.    Second, West Point representatives frequently visit Army posts, camps, and

             stations to market to Soldiers and increase West Point applications from servicemembers.

             Because certain non-white racial demographics are overrepresented in the enlisted population,

             increasing the number of candidates who are Soldiers could increase the number of diverse

             candidates. However, the impact of increasing Soldier candidates would still have a minimal

             impact on overall diversity at West Point because approximately 8-9% of candidates applying in

             a given year are current Soldiers, and Soldiers make up only approximately 8% of a given class.

                    107.    West Point has also considered other race-neutral measures, in addition to

             outreach efforts, to increase the level of diversity in the Corps of Cadets. For example, around

             2016, West Point considered increasing diversity using socio-economic status criterion, however,



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             based on a review of several years' worth of qualified candidates, West Point discovered that

             lower socio-economic status would not be effective at increasing racial diversity at West Point

             from its candidate pool. Rather, West Point determined that consideration of lower socio-

             economic status as a factor would actually increase the number of white males in a given class.

                    108.    Additionally, West Point considered prioritizing first-generation college

             candidates. However, West Point reviewed its admissions data and determined that the number

             of first-generation college candidates applying to West Point was so small that this alternative

             would not significantly impact diversity of the Corps of Cadets.

                    109.    West Point has also considered changing its use of standardized tests, such as the

             SAT, which could increase racial diversity. However, West Point values a standardized measure

             of academic potential, especially considering the variance in academic rigor between high

             schools, to ensure that admitted cadets can succeed while at West Point. Further, the version of

             the Fiscal Year 2024 National Defense Authorization Act, as proposed by the United States

             Senate, would mandate that service academies require the submission and consideration of

             standardized test scores as part of the application process, thereby limiting the flexibility of West

             Point to restructure its admissions criteria.

                    110.    Finally, West Point has encouraged nominating sources, specifically Members of

             Congress, through training and outreach, to consider providing nominations that include a

             diverse slate of candidates that are representative of their districts or states. However, West Point

             has not observed a significant shift in diversity based on nominations. A recent study found that

             Members of Congress "have nominated disproportionately more white students than Black,




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             Hispanic, or Asian and Pacific Islander students.m10 The study showed that white students

             received approximately 74% of congressional nominations despite comprising 54% of the U.S.

             population aged 18 to 24.11 The study concluded that this disproportionality in the nominating

             process "contributed to significant racial and ethnic disparities in the student bodies of the

             [military] academies.7912 This is another reason why West Point's limited consideration of race

             and ethnicity is necessary to ensuring a diverse class of cadets.

             x.       West Point is Required to Monitor Demographic Data

                     111.   Under federal law and DoD directives, West Point is required to collect and report

             military personnel data elements, including race and ethnicity, on its cadets.

                     112.   The Office of Management and Budget (OMB) oversees and coordinates the

             implementation of Federal regulations across the Executive Branch. In October 1997, OMB

             published a notice in the Federal Register, "Revisions to the Standards for the Classification of

             Federal Data on Race and Ethnicity," that replaced and superseded prior OMB guidance from

             1977. In its 1997 revision, OMB modified and separated race and ethnicity categories. The

             following five categories of race are listed in the Federal Register Notice: "American Indian or

             Alaska Native," "Asian," "Black or African American," "Native Hawaiian or Other Pacific

             Islander," and "White." Similarly, OMB directed the use of ethnicity categories of "Hispanic or

             Latino" and "Not Hispanic or Latino." While the United States government has long collected

             statistics on race and ethnicity, until OMB issued its 1977 "Race and Ethnic Standards for

             Federal Statistics and Administrative Reporting," federal data collection lacked uniformity on



             10 Connecticut Veterans Legal Center, Gatekeepers to Opportunity: Racial Disparities in
             Congressional Nominations to the Military Service Academies at 3 (2021),
             https://perma.cc/85X7-TQ2F.
             11 za. at 5.
             12 za. at 3.

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             race and ethnicity reporting categories. OMB mandates the use of these race and ethnicity

             categories by federal agencies, including DoD.

                    113.    DOD issued mandatory guidance for all DOD entities, including West Point, on the

             reporting of military personnel data elements, first in DoD instruction 1336.05, and subsequently

             in DoD Manual 7730.69, Volume I, Uniformed Services Human Resources Information System:

             Main Reporting Requirements. DoD Manual 7730.69, Volume I, provides the master person file

             coding format, which requires DOD entities to identify the race code and ethnicity code of an

             individual "in accordance with the 1997 OMB standards on race and ethnicity ... [in the]

             Federal Register" as described above. Collection and reporting of the required military personnel

             data elements enables the DOD to create mandatory information reports, statistical tabulations,

             and demographic information of the uniformed services. Federal law and DoD directives thus

             mandate West Point's use of specific race and ethnicity categories.

             XI.    A Preliminary Injunction Requiring West Point to Change Its Admissions Policies
                    Would Impose Significant Harms

                    114.    I understand that the Plaintiff has requested that the Court preliminarily enjoin

             West Point from considering race as a factor by December 1 of this admissions cycle. If the

             Court were to enter such an injunction, it would impose significant harms on West Point.

                    115.   As explained above, the current admissions cycle began in February 2023, when

             candidates who were then as young as juniors in high school could first submit the Candidate

             Questionnaire. The Admissions Office has been reviewing candidate applications since August

             2023 under admissions policies that have been in place at West Point for years and that include

             the limited consideration of race and ethnicity for some candidates. Applying those longstanding

             policies, the Admissions Office has already extended LOAs and offers of appointment to

             hundreds of candidates for this admissions cycle.


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                    116.      If the Court were to preliminarily enjoin West Point from applying its

             longstanding admissions policies, the Admissions Office would need to consider how to change

             those policies to comply with the Court's order. The Admissions Office would need to consider,

             among other things, how it uses LOAs and how it might advance the military's interest in

             diversity without considering a candidate's race or ethnicity. That process would take time and

             require consultation with the Academic Board and possibly other stakeholders.

                    117.      West Point might also have to consider whether and how to withdraw previously

             provided LOAs or offers of appointment, harming those candidates in the middle of their college

             application processes.

                    118.      Preliminarily enjoining West Point from applying its longstanding admissions

             policies mid-cycle would also mean that certain candidates could be evaluated under a different

             set of criteria depending on when in the cycle they submitted their application. For example, a

             candidate who has already submitted his application and received an LOA could be evaluated

             under a different set of criteria than a candidate who has not yet applied. This would be

             inherently unfair both to those who already have received an LOA and those whose applications

             are still under consideration. To my knowledge, West Point has never changed its admissions

             policies mid-cycle in this way or applied different criteria depending on when a candidate

             applied.

                    119.      Finally, preliminarily enjoining West Point from applying its longstanding

             admissions policies would harm the important national security interests that those polices are

             designed to further. I understand that the Army has made a military judgment that a diverse

             officer corps is necessary for mission and combat readiness. If West Point were prohibited from

             considering a candidate's race in the limited manner described above, I expect that West Point's



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             class of admitted cadets would become less diverse, as it was before West Point began applying

             its current policies. This would result in an officer corps that would also become less diverse

             over time.

             Dated: West Point, New York
                                                                                            Digitally signed by
                                                                  MCDONALDDEBOR MCDONALD.DEBORAH.JO.118034
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                                                                  DEBORAH MCDONALD




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             MAAR                                                                    5 November 2020


                 MEMORANDUM FOR THE ACADEMIC BOARD

                 SUBJECT: Academic Board Directive for the Admissions Committee,
                 Academic Years 2021-2022 and 2022-2023

                1.     PURPOSE: This directive prescribes the policies, procedures, and
                guidelines for use in determining the quantification, qualification, and selection of
                candidates for the United States Military Academy (USMA) Classes of 2025 and
                2026, the United States Military Academy Preparatory School (USMAPS) Classes
                of 2021 and 2022, and the West Point Preparatory Scholarship Program (WPPSP)
                Classes of 2021 and2022.

                 2.     ADMISSIONS OBJECTIVES:

                       a. Within the limits established by law, the Department of the Army, and
                 the procedures authorized below, select candidates who:
                        (1) Express interest in a career of service to the country as active-duty
                 Army officers,
                        (2) Demonstrate high moral and ethical character,
                        (3) Demonstrate strong performance in high school, college or the Army
                 and who are predicted to graduate from USMA,
                        (4) Manifest high levels of physical and emotional stamina,
                        (5) Are medically qualified fore commission upon graduation,
                        (6) Meet the needs of the future Army in talent and diversity,
                        (7) Are committed to all-around excellence.

                          b. Seek to achieve a class balance in terms of talent in leaders,
                 scholars, athletes, and soldiers and diversity in minorities and women. The
                 Academic Board will review the balance of talent and diversity recruitment bi-
                 annually to ensure the recruitment meets the needs of the USMA and the Army.
                 The review methodology will be forward-looking in the validation or revision of
                 diversity recruitment in future years.


                 3. COMPOSITION AND RESPONSIBILITIES OF THE ADMISSIONS
                 COMMITTEE AND ADMISSIONS EXECUTIVE COMMITTEE:

                 a.           The Admissions Committee is a standing committee of the Academic
                 Board. It is composed of the Director of Admissions, Heads of the Departments
                 of Mathematical Sciences, English and Philosophy, and Behavioral Sciences and
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                 Leadership, the Master of the Sword, the Director of the Department of Military
                 Instruction, the USMA Surgeon, a senior representative from the Athletic
                 Department, representatives from five additional Academic Departments
                 identified annually by the Dean of the Academic Board, a Regimental Tactical
                 Officer, a Company Tactical Officer, and the Commandant of USMAPS. Each
                 will have designated alternates. Each department has one vote on matters
                 presented to the Admissions Committee. A quorum of 9 principals (and 7
                 alternates) must be present to adjudicate the actions at the Admissions
                 Committee. In the event of a tie vote of 8-8, the file will be presented at the
                 next scheduled Academic Board. Any voting member could ask that any
                 candidate file be adjudicated at the Academic Board. The Admissions
                 Committee qualifies and selects candidates for USMA, USMAPS, and
                 WPPSP in accordance with Academic Board guidance, appropriate sections
                 of Title 1O US Code, Department of the Army Regulations, and USMA
                 Regulations. Additionally, admissions policies will adhere to NCAA
                 Regulations. The Admissions Committee assists the Director of Admissions in
                 the formulation of policy recommendation for recruiting candidates,
                 recommends to the Academic Board criteria for admission and readmission of
                 former cadets and cadet candidates from USMAPS, USNAPS, and
                 USAFAPS, and informs the Academic Board of candidates offered admission,
                 including the profile of the new class as it develops. The Admissions
                 Committee will report to the Academic Board a retention report in January for
                 the last graduating class. Included in this report will be the Army retention
                 data for the five, ten, fifteen and twenty- year classes. This data will be
                 compiled by OEMA and OIR.

                       b. The Executive Committee (EXCOM) is a subcommittee of the
                 Admissions Committee composed of the Department Heads of English and
                 Philosophy, Mathematical Sciences, and Behavioral Sciences and Leadership,
                 the Master of the Sword, the Director of Admissions, the Admissions
                 Committee representative from the athletic department, and a Regimental
                 Tactical Officer. Six members must be available to convene a session, at least
                 four of whom must be primary members. If there is a tie vote, or an objection to
                 the outcome of the vote, on any issue before the EXCOM, the matter will be
                 presented and discussed before the entire Admissions Committee and the
                 outcome determined by a majority vote of that body. The EXCOM can conduct
                 electronic votes as needed. The EXCOM's primary responsibilities are:

                        (1) to consider Letters of Assurance and contingent offers of admission
                 for USMA candidates who do not meet preliminary indicators for academic
                 qualification discussed below:
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                     (2) to consider Letters of Assurance or offers of admission for
                candidates to USMAPS and WPPSP who exceed risk levels for those
                programs, also discussed below.

                      (3) to decide whether a candidate will be accepted with risk in one or
                more events constituting the Candidate Fitness Assessment (CFA). When a
                candidate is identified by the Director of Admissions with risk in one or more of
                the six events on the CFA, appropriate information will be provided to the
                Master of the Sword for review. The Master of the Sword will recommend to
                the EXCOM that the candidate be qualified with risk or take a retest on the
                entire CFA. The EXCOM will vote on that recommendation.

                      (4) a majority vote rules unless any member of the EXCOM requests
                that the entire Admissions Committee should consider the case.

                4. CANDIDATE FILE QUANTIFICATION AND QUALIFICATION:

                      a. File Quantification: Candidate files for USMA, USMAPS, and
                WPPSP will be quantified with Whole Candidate Score (WCS) and subscores
                as indicated in Annex A. No untimed, special-assistance administrations of
                either the SAT or ACT are authorized for use in quantifying candidates for
                USMA qualification consideration.

                      b. File Qualification:

                      (1) The qualifications of all USMA, USMAPS, and WPPSP candidates
                will be judged by the Admissions Committee or the EXCOM unless a case is
                forwarded to the Academic Board for resolution with a recommendation from
                the Admissions Committee.

                      (2) Preliminary indicators for qualification for USMA will be:

                      (a) Academic: Academic GPA in the top 81% of high school class.
                Adequate college prep program with acceptable grades.

                         (b) The ability to communicate in writing. Evaluation of writing skills for our
                candidates is an integral part of the admissions qualification process. A standard
                writing submission concerning three topics selected by the Admissions Committee
                must be submitted prior to qualification .

                        (c) Each candidate must take the SAT or the ACT writing exams for review
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                by the Admissions Committee. Educ to COVID restrictions a candidate is
                unable to submit a writing portion of a test with higar her pre-cogo testing, the
                candidate must have a candidate statement, English School Official Evaluation and
                have no risks in corresponding English components of the SAT or ACT.

                        (d) Preliminary qualifying SAT scores are:

                SAT Math 570
                SAT EB R/lN > 550
                Essay Reading and Writing subscores > 5
                Essay Analysis > 3.
                Essay subscores must be evaluated within the same test and cannot be
                supermaxed from multiple tests.

                        (e) Preliminary qualifying ACT scores are:

                ACT English >24,
                ACT Math > 25,
                ACT Reading >25:
                ACT Science Reasoning> 24
                Essay Score 5.

                        (f) Preliminary academic predictorscore(CEER/ACEER)> 466.

                         (g) Leadership: Community Leadership Score (CLS)> 520.

                         (h) CFA: The procedures and risk levels approved by the Academic
                Board on 4 October 2006 will be used in addition to an overall passing score for
                CFA 450. With the implementation of the Army Combat Fitness Test, we will
                gather ACFT results from USMAPS CCs and Active and Reserve Component
                Soldiers. However, until further guidance is provided from Department of the
                Army with respect to ACFT full implementation, the results of the ACFT will not
                be used to disqualify any candidate for admission consideration to West Point or
                to USMAPS. Excluding USMAPS, all cadet candidates will submit a CFA score
                during their admissions cycle. USMAPS CCs will only submit an ACFT score for
                the current cycle, however the previous year's CFA score will be used for WCS
                calculations.
                         (f) Whole Candidate Score (WCS)> 5200.

                       (g) Medical -- Medical qualification will initially be determined by the
                Department of Defense Medical Examination Review Board (DODMERB).
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                Candidates disqualified by DODMERB may be forwarded to the Surgeon, USMA
                for waiver consideration. When a waiver is recommended by the
                Surgeon, USMA, the Admissions Committee may grant it if it is in the best interests
                of the candidate, USMA, and the Army.

                           If the USMA Surgeon determines that the candidate meets
                accession standards of Department of Defense Instruction (DODI)
                6130.03 Medical Standards for Appointment, Enlistment, or Induction in
                the Military Services, then a waiver is not necessary.

                          If candidates do not meet Chapter 2 standards, but do meet Chapter 3
                retention standards, the Admissions Committee may vote to authorize a medical
                waiver. The Committee will discuss these cases and a vote will be taken on
                whether to approve the cases on a Medical Waiver Memorandum. Any
                candidate approved for a waiver will be identified with the indication of MWM#
                on the final slate for the candidate's offer of admission. Although the
                Superintendent is the waiver authority for these candidates, he has delegated
                that authority to the Admissions Committee as long as the vote is unanimous in
                favor of the considered candidates. Any split vote on a candidate will cause the
                Director of Admissions to prepare a decision paper with the recommendation of
                the Admissions Committee for the Superintendent to make a final decision for
                medical qualification. A candidate approved for a Superintendent's Medical
                Waiver will be identified with the indication of SMW on the final slate for the
                candidate's offer of admission .

                         If candidate does not meet AR 40-501 Standards of Medical Fitness,
                CH 3 retention standards a waiver may not be considered nor forwarded to the
                Admissions Committee forvote.

                           (h) Admissions Committee adjustment of the WCS is authorized to
                the extent of plus or minus 10% of the WCS to allow for special nature of school
                programs, significant work experience during the school year, special
                accomplishments, personal achievements of a significant nature, international
                studies, foreign language expertise, or information of a negative nature not strong
                enough to disqualify a file. When a candidate is considered for a WCS
                adjustment, the appropriate Directorate of Admissions Regional Commander will
                present the case and all extenuating circumstances to the department responsible
                for consideration and approval of a WCS adjustment. These adjustments will be
                identified on the admission slate for each candidate so that the entire Admissions
                Committee can identify the candidates receiving a WCS adjustment.
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                           (i) Candidates who have been convicted of a crime or are
                currently pending legal resolutions must be addressed at the Admissions
                Committee. Candidates who receive minor traffic violations with fines less
                than $200 are not required to be reviewed by the SJA. The Director of
                Admissions can review and waive this level of offense. The USMA SJA will
                review all other issues of arrest or legal fines and make recommendations to
                the Admissions Committee for consideration when appropriate.

                           (j) Any issues concerning moral turpitude which might not rise to
                the level of a legal conviction will be evaluated by the Admissions Committee.
                These instances include but are not limited to racism, sexism, harassment,
                bullying, etc.

                      c. Special Guidance:

                      (1) The Admissions Committee will review all files for final qualification
               to assure fairness within the candidate pool as work progresses toward
               achieving admissions objectives. The EXCOM is part of the Admissions
               Committee and can qualify candidate files. Candidates falling into any of the
               risk categories listed below require special review by specific Admissions
               Committee members prior to a determination of qualification:

                           (a) Mathematics- SATM < 570 / ACTM<25.

                           (b) English and Philosophy -

                SAT EB Reading < 550 or any Essay Reading and Writing subscore <
                5 or Essay Analysis subscore < 3.
                ACTE < 24,
                ACTR <25 or essay subscore < 5.

                           (c) Physics and Nuclear Engineering- ACTS< 24.

                           (d) DPE - CFA with any event below the 20-point standard or CFA
                score below 450 total.

                            (e) USCC - CLS< 520 / FAS< 525.

                            (f) Director of Admissions - WCS < 5200.

                            (g) Any CEER below 554 must be approved by the EXCOM prior to
               the granting of an LOA for admission to USMA.
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                      (2) COVID Related Test Considerations:
               For those candidates who were unable to take a standardized test either
               during their junior or senior year due to the COVID conditions, a separate
               review process will be used to determine qualification. This review
               process will only be implemented for students who can show they were
               unable to sit for the SAT or ACT in either their junior or senior year in high
               school due to COVID restrictions. Using a test flexible plan, students will
               also be able to submit PSAT scores in the event they have not been able to
               take an ACT or SAT due to COVID restrictions.

                    (3) lnjudging qualification of candidates, the Admissions Committee is
               encouraged to use all relevant performance and retention data from past
               USMA classes. The Directorate of Admissions and OEMA will grant
               members of the Admissions Committee Access to this data at their
               request.

                      (4) The Admissions Directorate is encouraged identify candidates who
               are clearly admissible and those who are not competitive for admission so that
               the earliest status notifications can be dispatched .

                     (5) Considerations for disqualification of candidates may include, but
               are not limited to, the following items:

                            (a) Academic:

                                - Transcript showing poor performance, to include failing or
                conditional work.

                             - Transcript that lacks breadth of subject matter essential for
                success in the USMA program.
                             -Transcript that suggests low ambition as reflected by only 2-3
                serious academic courses in the 7th and 8th semesters.

                               - Transcript that shows poor personal character traits
                associated with academic work such as excessive tardiness, absences, and
                noted behavior problems.

                                -Standardized testing record of significant risk. While the best
                combination of scores from either the SAT or ACT is used for each candidate,
                the entire testing record should be considered during the academic evaluation
                of the candidate. While at-risk SAT/ACT scores are not used as a single factor
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                in disqualification, it must be remembered that low scores almost always indicate
                a lack of mastery in the tested area.

                           - Faculty appraisals that report substandard academic
                performance or signal inappropriate behavior in the classroom or as a
                school citizen.

                             (b) Physical Qualification:

                           - Substandard performance on the Candidate Fitness
                Assessment (CFA) with an aggregate score below 450 or not meeting
                minimum in each sub event.

                             - Permanent physical impairment.

                             - Information from the school that reports substandard
                physical/athletic performance and signals limited potential for success in the
                physical program at USMA or as an Army Officer.

                             (c) Motivations and Communication:

                             - Candidate statements (essays) that display a lack of ability to
                communicate in writing, display a lack of appropriate motivation to attend USMA,
                and/or display the potential presence of character flaws such as the inability to
                work with and value other demographic groups or genders.

                             (d) Overall Record:

                            - Leadership, character, conduct, maturity, and discipline
                problems documented in the record or referenced by members of the
                candidate's faculty or community.

                               - Evidence of ineptitude, apathy, personality disorder, defective
                attitudes, or inability to expend effort constructively. This may include medical
                evaluation of ADD, ADHD, or classroom assistance as evidenced by an
                Individual Education Plan (IEP).

                            - Records of poor performance additional to that of high school, to
                include college or preparatory work, service record, employment, etc.

                                Records of Former Cadets (USMA, USNA, USAFA, USCGA,
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                USMMA and their respective military preparatory schools) that include
                assessments of poor leadership, character, conduct, and potential.

                                 Arrest and conviction record .

                             - Incidents of discreditable nature short of arrest and conviction,
                but such that the frequency, pattern, style, and proximity to
                qualification/enrollment cause concern.

                             (e) Other negative attributes not falling specifically into the above
                        categories.

                        (6) All disqualified USMA candidates will be reviewed for USMAPS
                attendance.

                    (7) The Admissions Office, without informing the Admissions
                Committee, may disqualify candidate files having a CEER/ACEER < 400 or
                a WCS < 5000.

                      (8) The Academic Board encourages the use of all relevant
                information in the determination ofqualification/disqualification decisions and
                expects that subjective committee judgments will take into account all
                candidate characteristics and qualities, special accomplishments, special
                talent, biographical data, experiences, and third-party appraisals, however
                the Admissions Committee should remember not to disadvantage those
                candidates without third party appraisals.

                5. SELECTION FOR USMA, USMAPS AND WPPSP:

                a.      USMA: Once candidate files are qualified, selection is based on order of
                merit within the types of nominations obtained by candidates. Out of order of merit
                selection will only be made for Additional Appointees and Superintendent
                Nominations to help achieve the Army's needs in talent and diversity in the class.
                When a fully qualified candidate will clearly win a congressional or service-
                connected vacancy to USMA, he or she will be placed on an admissions slate.
                The slate must be voted on by a quorum of the Admissions Committee. A
                candidate's name can be withdrawn from the slate by any voting Committee
                member for further discussion or referral to the Academic Board for a decision. In
                the event of electronic voting of slates, the Director of Admissions will establish a
                "not later than" time, normally two duty days, to receive votes. Once a quorum has
                voted electronically to support the slate, no objections are received, and the "not
                later than time" is past, the slate will be authorized and processed for
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                appropriate action.

                  (1) Methods of Selection.

                      (a) All qualified candidates in the nomination categories listed below will
                 be selected for an appointment based on rank-ordering by Whole Candidate
                 Score in order of merit:

                          Congressional Competitive nomination slates
                          All Service-connected nominations, to include:
                          - Presidential
                          - Children of Deceased & Disabled Veterans, Missing in Action, and
                          Children of Medal of Honor Recipients
                          - ROTC (Senior, Junior Honor Schools)
                          - Regular Army and Reserve Component Soldiers.

                      (b) For Congressional slates where nominees are designated as a
                principal candidate or ranked alternate, selection must be considered in
                the sequence specified.

                       (c) International Cadets must be nominated by their respective countries.
                They are required to complete their files with the same information as United
                States citizens with the exception of the U.S. Army medical examination for
                commissioning. A sub-committee that includes the Directorate of Admissions
                International Cadet Admissions Officer, the Departments of Foreign Languages,
                Mathematical Sciences, and English and Philosophy will review each file for
                qualification. All files recommended for qualification will be approved by a vote of
                the entire Admissions Committee. Admission of nominated, qualified
                International Cadets will be governed by the needs of the United States as stated
                in appropriate regulations and agreements.

                      (d) The Superintendent is authorized to nominate up to 50 candidates
                annually for appointment to the incoming class. These nominations are
                typically reserved for candidates who help meet talent and diversity
                recruitment. They are approved for the Superintendent by the Chief of Staff,
                USMA and may be selected out of order of merit.

                      (e) A "Qualified Alternate" (QA) is a candidate selected in accordance
                with the provisions of subsection (b) (5) of Section 4342 of Title 10 U.S.C., which
                prescribes that 150 candidates, selected in order of merit from the qualified
                alternates of us Senators and Representatives, may be appointed each year.
                Qualified Alternates will be selected by rank ordering qualified candidates who
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                do not win designated vacancies by Whole Candidate Score (WCS) on the
                National Waiting List (NWL}. Fully qualified Congressional nominees on the
                NWL will be offered admission in WCS order from highest to the lowest until 150
                have accepted the offer. They will be designated as QAs.

                         (f) An "Additional Appointee" (AA) is a candidate selected in accordance
                 with Section 4343 of Title 10 U.S.C., which authorizes the filling of vacancies
                "If it is determined that, upon the admission of a new class to the Academy, the
                number of cadets at the Academy will be below the authorized number." The
                section further prescribes that at least three-fourths of these candidates must
                be qualified candidates nominated by the Vice President, us Senators,
                Members of the us House of Representatives, Delegate from the District of
                Columbia, Delegate from the Virgin Islands, Governor of Puerto Rico,
                Commissioner from Puerto Rico, the Delegate from Guam, and the Delegate
                from American Samoa. Additional Appointees needed to reach the Military
                Academy's authorized class strength will be selected in the legal ratio of three
                Congressional nominees to one Service-connected nominee from fully qualified
                candidates. These selections are made from the qualified candidates on the
                National Waiting List. The law does not require that they be selected in order of
                merit.

                        (g) Soldiers will be considered for a Regular Army or Reserve Component
                nomination from the Commander's Endorsement from that unit. Any soldier who
                does not receive a Commander's Endorsement, but is nominated by another
                authorized nomination source, will not be considered for an appointment until the
                file is fully discussed at Executive Committee or full Admissions Committee.

                        (h) The Director of Admissions will furnish to the Admissions Committee
                for special selection consideration: the files of all qualified candidates whose
                talents are so outstanding that they should be offered admission immediately, the
                files of those qualified candidates whose overall potential is not adequately
                reflected by their formal academic and secondary school records, such
                inadequate reflection being due either to the special nature of the candidate's
                socio-economic background or the special nature of the schooling received, and
                the files of other qualified candidates for whom admission is suggested as
                reasonable in efforts to achieve diversity in the class.

                      (i) The Admissions Committee will keep the Academic Board informed of
                the selections made under this provision. Additional Appointees selected to help
                achieve talent and diversity may be selected out of Whole Candidate Score
                order, leaving candidates with higher Whole Candidate Scores on the National
                Waiting List. When the Director of Admissions presents candidates to the
                Admissions Committee out of WCS order, the Director will notify the
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                Admissions Committee prior to a vote how many fully-qualified candidates
                not offered admission the previous year had a higher WCS than the current
                proposed AA candidate.

                  (2) Conditional Offers of Admission.

                       (a) Letters of Assurance (LOA): In order to compete for the most talented
                candidates while attempting to achieve diversity, the Admissions Committee is
                authorized to provide Letters of Assurance (LOA) based on preliminary file
                qualification data. These letters constitute a firm commitment from USMA to the
                candidate if the candidate meets the conditions of the letter. In order to be eligible
                for an LOA, candidate files must contain at least a completed Candidate
                Questionnaire, and a sixth-semester transcript with the appropriate data to
                compute a CEER and verifiable standardized test scores. Depending on the
                timing of the letter and the file completion status of individual candidates, the LOA
                conditions will be:

                          (1) File completion, including a qualifying CFA.

                          (2) Determination of qualification by the Admissions Committee.
                          (3) A time limit to meet the contingencies of the LOA will be imposed.

                          (4) Medical qualification.

                          (5) Receipt of a nomination.

                           (b) The Director of Admissions is authorized to sign LOAs without
                committee action for the following candidates:

                          (1) All candidates who exhibit no risk in preliminary qualification
                 areas and whose WCS is equal to or greater than the lowest for the Qualified
                 Alternates in the last class enrolled. Based on class-size considerations, the
                 Director of Admissions, in conjunction with the Chairman of the Admissions
                 Committee, may set the WCS at a lower (or higher) level, if necessary after
                 informing the Admissions Committee.

                        (2) All other candidates who support talent and diversity goals
                whose CEER/ACEER >554 and no indicated risk in preliminary qualification
                areas.
                           (c) LOAs for any candidate who exhibits risk in any area
                and/or a CEER < 555 must be approved by a majority vote of the
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                Executive Committee.
                              (d) Expedited Offers of Admission. These offers are reserved for
                exceptionally qualified candidates as well as all 1-rated athletes in any USMA
                Athletic Department sport authorized to recruit. For non-risk candidates, an
                expedited offer of admission requires a minimum of the sixth- semester
                transcript, a Candidate Questionnaire, and verified standardized testing scores
                 (ACT, SAT or PSAT). Especially in the case of risk candidates, the Executive
                 Committee may require more information before an Admissions Committee
                 vote is allowed for slating of individuals for expedited offers. These candidates
                 may have Superintendent nominations because they are of such quality that
                 an immediate offer is desired in order to remain competitive with other
                 colleges competing for that candidate. The athletic department and the athlete
                 admissions officer must ensure that all follow-up for file completion, CFA
                 testing, medical qualification and nomination assistance is accomplished for
                 these candidates in a timely manner. All candidates receiving an Expedited
                 Offer of Admission must complete all requirements for qualification prior to
                 being admitted .

                             (e) Admissions of former cadets and cadet candidates from
                USMAPS, USNAPS, and USAFAPS require special actions. These candidates
                must complete the entire admissions process, to include receipt of a nomination
                from an authorized source. Their cases will be reviewed by the DAD, Dean,
                USCC, the Athletic Department, the Superintendent, and a subcommittee
                member of the Admissions Committee. Each of these offices will make a
                recommendation on the suitability of the candidate for admission as a former
                cadet. These recommendations and the candidate's file must be considered by
                the entire Admissions Committee. Candidates in this category who are
                determined qualified by the Admissions Committee must be referred to the
                Academic Board for a vote on final qualification and appointment to USMA. The
                names of those who are unanimously disqualified by the Admissions Committee
                will be provided to the Academic Board for information only.

                b.      Selection for USMAPS and WPPSP: Preparatory programs are
                designed to help achieve diversity at USMA. While ODIA recruits for both
                preparatory programs, NCAA guidance must be followed for WPPSP.
                Candidates with recognized athletic ability assisted each yearas the result of
                selection for WPPSP shall be in equal ratio to the number of student-athletes
                on the regular intercollegiate squads of the academy compared to the total
                enrollment of the academy. This rule does not apply to USMAPS.

                  (1) USMAPS:
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                     (a) These candidates may be selected by a USMAPS sub- committee
                consisting of one academic department representative and the Director of
                Admissions.

                     (b) Candidates who are not academically qualified to attend USMA will
                be considered for USMAPS.

                      (c) SAT Math and Reading scores greater than 500 or an ACT
                component scores greater than or equal to 20 with a CEER/ACEER greater
                than 431 should be considered for appointment to USMAPS.

                       (d) Scores falling below these levels must be approved by a majority
                vote of the Executive Committee. If the CEER is below 373, the EXCOM will
                make a recommendation to the entire Admissions Committee before an LOA
                will be approved .

                   (2) WPPSP:

                      (a) Selection will be accomplished by a sub-committee consisting of one
                academic department and the Director of Admissions. Upon selection for the
                program, candidate names are provided to the Association of Graduates, the
                program sponsor.

                       (b) Fully qualified candidates who are not recruited athletes will be
                considered for WPPSP. These candidates should exhibit no risk in
                qualification areas. Candidates selected for this program should demonstrate
                high motivation and strong leadership potential as determined by the
                Community Leadership Score (CLS). Regional Commanders will provide the
                EXCOM an overview of the candidates recommended for WPPSP prior to
                the actual offer being tendered.

                      (c) SAT Math and Reading scores greater than 500 or an ACT
                component scores greater than or equal to 20 with a CEER/ACEER greater
                than 431 should be considered for appointment to Civil Prep.

                     (d) Risk scores must be approved by a majority vote of the Executive
               Committee. If the CEER is below 373, the EXCOM will make a
               recommendation to the entire Admissions Committee before an LOA will be
               approved .

                6. CANDIDATE QUALIFICATION AND SELECTION:
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                Candidate qualification and selection by the Admissions Committee covers a
                wide range of candidates by WCS and CEER/ACEER. Qualified WCS scores
                in a typical class range from 7000+ at the high end to around 4800 at the low
                end. Since Admissions has transitioned to a completely paperless application
                process, it is imperative that the synergy produced by the discussion of cases
                and issues at the Admissions Committee not be lost. The Committee will
                continue to meet on a weekly basis to engage in such discussions, as
                required, and also to vote on medical waiver memoranda and slates. The
                movement to digital files now enables members of the Admissions Committee
                to qualify or disqualify candidates remotely in their offices and elsewhere.
                Members of the Committee serving in the first year are encouraged to consult
                as required with veteran colleagues or members of the Admissions staff. It is
                finally imperative as well that in the decentralized dynamic of work-station
                review, Committee members engage files promptly once they are posted to
                the AMS admissions site.

                7. ACADEMIC BOARD SPECIFIC GUIDANCE:

                    a. The Academic Board directs the Admissions Committee to continue to
                consider the Whole Candidate Score (WCS) and its various sub-scores in the
                process of determining qualified candidates. Be attentive to the possible need
                for changes over time, especially with respect to impacts not only with
                standardized tests but leadership and athletic components of the WCS as a
                result of COVID restrictions in the students' local school districts.

                   b. The Academic Board further directs the Admissions Committee to
                accomplish the following specified tasks during the period covered by this
                directive:

                 (1) Continue policy of restricting less than 10% of an incoming class
                with CEER scores below 466. This cap is for us students only.

                 (2) Continue the 10% cap on the aggregate number of candidates entering
               USMAPS or Civil Prep below 340 CEER. These low CEERs can include any
               candidates from any class composition category. Any exceptions to the cap or
               candidate cohort requires a full admissions committee discussion for approval.
               This cap is for us students only.

                  (3) Establish a goal of no more than 25% of each Class Composition Goal
               cohort entering with CEER scores below 466. The actual entry percentages will be
               briefed to the Academic Board each admissions cycle in August. There is a non-
               binding goal but an intent to minimize CEER risks by cohorts where possible. This
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               cap is for US students only.

                8. REVIEW OF THE ACADEMIC BOARD DIRECTIVE:

                The Academic Board will review and vote on this directive every other year. If
                there is a need for any change to the document's content during the two-year
                cycle, a minimal memorandum of change will be prepared by the Admissions
                Committee Chair and the Director of Admissions for Discussion and Approval by
                the Academic Board.

                APPROVED BY THE ACADEMIC BOARD ON 5 NOVEMBER 2020.

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               DAVID HARPER                                       DEBORAH J. McDONALD
               COL, US Army                                       COL, US Army
               Professor and Head                                 Director of Admissions
               Department of English and Philosophy
               Chairman of the Admissions Committee
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                  ANNEX A: Quantification of Candidate File Components Calculation

                 WCS = 6 (CEER/ACEER) + 3 (CLS) + 1 (CFA)
                 CEER = 316.935*HSpcT + 0.333*SATEB + 0.981*SATM - 572.502
                  ACEER = (391.437*HSpcT) + (14.398*ACTM) + (5.853*ACTE) +
                  (3.588*ACTsR) + (2.427*ACTR)- 532.388
                  PSATCEER Math Proxy = SATM = 2.62.0781 + 0.6692XPSATM
                  PSATCEER English Proxy = SATEB = 271 .9788 + 0.6471 X PSATV€I'bal
                  HSPCT = Converted HS GPA from table of data for a 4.0 scale
                  COMMUNITY LEADER SCORE (CLS) =EX+ AT+ FAS
                                                             3
                 CANDIDATE FITNESS ASSESSMENT (CFA) six event physical fitness
                 test including pull ups/ flexed arm hang, shuttle run, modified basketball
                 throw, crunches, pushups and mile run.

                  COMMUNITY LEADER SCORE (CLS): The arithmetical mean (with a range
                  of 147 to 740 inclusive) of the Faculty Appraisal, Athletic Activity, and
                  Extracurricular Activity scores.

                   FACULTY APPRAISAL SCORE (FAS): The average of the candidate's
                   scores on the school evaluation from Math, Science, English and
                   Physical Education Teachers.

                  SCHOOL OFFICIAL EVALUATION (SOE) of Candidate Forms (DD Form 1869)
                  on a scale of 40-740.

                  ATHLETIC ACTIVITIES SCORE (AT): A score reflecting a candidate's
                  athletic participation awarded in accordance with the following
                  guidelines.




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                  ATHLETIC GUIDELINES

                800: An outstanding athlete (All-American, 1stteam All-Area selection) and either
                Athletic rating of 1 in the sport in which honors are received or CFA score> 650.

                700:
                (1) First-team All-Area selection in a single sport,
                (2) Team captain in two or more sports for class size over 100),
                (3) Ranger or Special Forces tab [Soldiers].


                600:
                (1) Captain of team,
                (2) Varsity letter in two or more sports.
                (3) Martial Arts Black Belt or equivalent within past three years

                 500:
                 (1) Varsity letter in a single sport,
                 (2) Expert Infantryman Badge, Expert Field Medical Badge, Jumpmaster, or
                 Presidential Fitness award [Soldiers]

                400:
                (1) Participation in a varsity sport (no letter),
                (2) Graduate of Airborne, Air Assault, Pathfinder, or comparable other Army
                 school [Soldiers],
                (3) Maximum score on Army Physical Fitness Test [Soldiers].

                300:
                 (1) Participation in junior-varsity and other team sports (not
                 intramurals), (2) Soldier status.

               200: No participation and no evidence of interest in sports.




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               EXTRACURRICULAR ACTIVITIES SCORE (EX): A score reflecting a candidate's
               participation in activities outside of required school curricula awarded in
               accordance with the following guidelines.

               800: An outstanding young person with quadruple participation or honors and
               awards on selected extracurricular activities (each worth 600 or more points).

               700:
               (1) Student Council President,
               (2) Triple participation or honors and awards in selected extracurricular activities
                    (each worth 600 (points)
               (3) Participation in Boys/Girls Nation,
               (4) JROTC Regt/Bde Cmdr or Civil Air Patrol Spaatz Award winner,
               (5) Decoration for valor [Soldiers],
               (6) Ranger or Special Forces tab [Soldiers],
               (7) Soldier's Medal [Soldiers].

               600:
               (1) High-school Class President,
               (2) Editor-in-chief of a school publication,
               (3) Participation in Boys/Girls State, President of National Honor Society, or
                      recipient of a National or State award,
               (4) Eagle Scout (Boy Scouts) or Gold Award (Girl Scouts),
               (5) Triple participation or honors and awards in selected extracurricular activities
                    (each worth 500 points)
               (6) Earhart/Mitchell Award,
               (7) Combat Infantryman Badge, Combat Action Badge, Combat Medical Badge
                    [Soldiers],
               (8) Soldier of the Year-brigade-level or higher [Soldiers],
               (9) Division-level In-Service Recruiting Program[Soldiers].

               500:
               (1) Holder of one or more elective offices in moderately selective
                     organizations,
                (2) Participation in activities or recipient of awards in moderately
                     selective organizations
                (3) Holder of a private pilot's license,
                (4) EMT/EMS or Volunteer Firefighter,
                (5) National Honor Society VP/Treasurer or Secretary,
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                (6) Civil Air Patrol Officer/1SG,
                (7) Combat veteran of three or more months in theater [Soldiers],
                (8) Expert Infantryman Badge or Expert Field Medical Badge
                     [Soldiers],
                (9) Meritorious Service Medal [Soldiers],
                (10)Distinguished Honor Graduate of Army school [Soldier],
                (11 )Soldier of the Quarter-brigade-level or higher [Soldiers].

                400:
                (1) Participation in activities or recipient of awards in organizations with
                     limited selectivity,
                (2) Non-commissioned Officer [Soldiers],
                (3) Squad Leader or Platoon Guide [Soldiers],
                (4) 90-day-plus OCONUS tour[Soldiers],
                (5) Army Commendation Medal [Soldiers],
                (6) Master Fitness Trainer [Soldiers],
                (7) Honor Graduate of an Army school [Soldiers],
                (8) PLDC graduate [Soldiers],
                (9) BOSS Representative [Soldiers].

                300:
                (1) Some participation in organized activities,
                (2) Army Achievement Medal or Good Conduct Medal [Soldiers].

                200: No participation in organized activities.


                 NOTE; The information above contains general guidance on the components
                 used to compute a Community Leader Score (CLS). In a process as imprecise
                 as leadership assessment, subjective judgment must be applied to the
                 evaluation process in order to take into consideration special situations: e.g., an
                 unusually high or low Faculty Appraisal Score (FAS) that is inconsistent with
                 other elements of the candidate record, athletic achievement in an extremely
                 large or small school or an excellent or marginal program, an activity record that
                 may not fit the categorizations of the Candidate Activities Record. The
                 Admissions Office and the Admissions Committee are expected to make
                 adjustments in the components of the CLS to take into account such situations.



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          SUBJECT: Academic Board Directive for the Admissions Committee, Academic
          Years 2021-2022 and 2022-2023


          ANNEX B: Class Composition Goals for Classes of 2025 and 2026

          1. Each year, USMA enrolls approximately 1,220 future leaders to serve in our officer corps with a
          goal to graduate approximately 1000 cadets after 47 months. Although USMA receives guidance
          and direction in training requirements and branching allocations, USMA does not receive guidance
          regarding diversity composition of an incoming class. Without guidance, USMA has shaped the
          composition of the incoming classes to be nested with the Department of Defense Diversity and
          Inclusion Strategic Plan in order to continue to attract and retain "a force that not only comes from
          diverse backgrounds, but also reflects the face of the nation".

          2. USMA shapes the incoming class through established Class Composition Goals (CCGs). CCGs
          drive the allocation of available resources to generate awareness and inspire underrepresented
          cohorts. USMA narrowly tailors the use of CCGs to achieve diversity that upon graduation will be
          commensurate with or slightly above the current officer percentage in each demographic (Women,
          African Americans, Hispanics, and Asians).

          3. USMA also shapes an incoming class through established CCGs based on talent. These talent
          goals include those attributes associated with experiential skills to include soldier, athlete, scholar,
          and leader and have been in use for admissions criteria for the past 75 years.
                  Scholar: candidate whose CEER > 650
                  Leader: candidate whose CLS > 645
                  Athlete: candidate designated by ODIA as a 1 rate athlete in an intercollegiate sport
                  Soldier: candidate who has completed Basic Training and has time in service>180 days.
                  Can be Regular Army (RA), Reserve Component (RC) or National Guard (NG). USMAPS
                  CCs who did not enter USMAPS as a RA or RC soldier will be considered an Invitational
                  Reservist upon entry to USMAPS.

          4. CCGS for USMA Classes 2025/2026 is based on FY2019 reported active officer corps
          demographics and the historical talent skills from previous class cohorts. These goals consider
          estimated attrition over the 47-month time at USMA.

          RA Officer Population as a Benchmark of Diversity
          Women > 20% (Officer Population - 18%)
          Minorities > 37% (Officer Population 29%)
               African American > 14% (Ofticer Population 11 %)
               Hispanic         > 11 % (Ofticer Population 8%)
               Asian            > 7% (Officer Population 7%)
               Other            > 5% (Officer Population 3%)

          Cadet Population as a Benchmark for Talent Goals
          Scholars > 30% (West Point Cadet Population 39%)
          Leaders > 25% (West Point Cadet Population 19%)
          Athletes > 23% (West Point Cadet Population 22%)
          Soldiers > 7% (West Point Cadet Population 5%)


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            MEMORANDUM FOR THE DIRECTORATE OF ADMISSIONS                                        5 July 2023

           SUBJECT: Initial Guidance for USMA Class of2028

            1. General:


            a. Team, let me start of by saying what an exceptional job by all on competing the 2027 class
            cycle! The cycle was especially difficult given the challenges presented by the failure of the
            DODMERB systems and the time it took for them to reestablish regular operations. We are well
            into 2028 now with the opening of the SSK on 15 May. We brought in the in another incredibly
            competitive and diverse admissions class with 2027 and met or exceeded our class composition
            goals for Asians, Leaders, Scholars, and Soldiers, while falling just a little short in Women,
            Athletes, African Americans, and Hispanics. We extended more Offers of Admission but saw a
            continued downturn in applicants who accepted offers of admission this past year and anticipate
            we will continue to see this play out in the next several class cycles.

            b. Our final target class for 2027 was 1230 US admits and we exceeded that on RDay with 1245
            first time US admits and fourteen internationals for a CBT entering size of 1259. This is a
            significant increase over the last class cycle. We will begin to focus on a steady state of 1220
            first time US admits over the next few years but will be ready for any adjustments should the
            corps size dictate any increase or decrease in accessions. This class guidance is initial guidance
            and may shift throughout the class cycle.

            c. Class of 2028 guidance: We will continue the policies we had in place for 2027, but any use
            of the PSAT alone to calculate WCS/CEER will require the approval of the Director of
            Admissions. We will still require the ACT essay. For those who only submit SAT test scores and
            are deemed to be an English risk, we will require a timed writing sample. I will keep all other
            current policies in effect - specifically in the timing of offers, the number of LOAs tendered and
            the medical scheduling process.

            d. Medical deadlines: We will strictly adhere to a 15 April 2024 medical waiver approval
            deadline for the class of 2028 - with any exceptions requiring approval from the Director only.
            We continue to be challenged with meeting this deadline and strongly encourage all regional
            commanders and admissions officers to emphasize this deadline. Highly encourage our regional
            commanders to work closely with your candidates to schedule medicals early to help facilitate a
            rapid medical review process. Any LOA or LOE applicant automatically should be medically
            scheduled at the time of the LOA.

            2. Class Size: We are targeting a class size of approximately 1220 US cadets. For planning
            purposes, anticipate the following vacancy distribution for USMA 2028 based on recent
            distributions with previous classes. Internationals cadets will add beyond the 1220 to bring the
            number to 1235. The breakout of anticipated nominations by class based on recent classes is
            included in the table.
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                            -2 0 2 1   -2022      2023      -2024    `2025     2026    -2027       `2028
           Congressional    553         581       539        558      571       521      512        552
           Presidential     45         '68        100        60      '48        77      .69        .100
           Reserve          85         .85        85         85       85        85       84        .85
           RA               47          55        48         49      '40        52      31         50
           ROTC             9          ..12       20         20       16        20       20         20
           Supt             38          36        30         33       $1       "19      .17         25
           SDVET            3           9         6          5        6        ..11      22         20
           V President       1          0         2          0        3         0      ..]         .I
           QA               ..150       150      ..150      ..150    ..150     ..150   ..150       .150
           SubTotal         935         990       976        961      950       935      906       958
           Additional       323         219       233        284      270       284      364       262
           Appointees


           Total            1255*      1215*      1209*      1247*   1220*      1219* 1270*        7220*

           From             201        202        190        201     194        171     169        200
           USMAPS *
           International*   13         15         16         12      16         16      16         15
           X-Cadets*        14         15         10         14      6          10     _I0         _I0



         3. Additional Appointees: Planning factors for additional appointees not to exceed (note they
            may fall into more than one category):

                   a. Athletes - 180 additional appointees (183 selected for 2027 cycle)
                   b . African Americans - 100 additional appointees (76 selected for 2027 cycle)
                   c. Women - 75 additional appointees (74 selected for 2027 cycle)
                   d. Hispanic Americans - 75 additional appointees (54 selected for the 2027 cycle)

         4. Offers of Admission: We will begin rolling admissions with those fully qualified candidates
            with an LOA and a nomination who will be able to receive an offer of admission as early as
            September or October. The majority of the of the offers will still be tendered at the end of
            January through April. All candidates regardless of date tendered will have until l May 2023 to
            accept or decline their offer. USMAPS offers of Admission will be tendered together on or about
            the first week of May after all files have been evaluated and approved through the Admissions
            Committee. Civil Prep Files will be offered as they complete their files, submit first semester
            transcripts, and are fully qualified for admission. International and former cadet files will go
            through the admissions review and committee review before final adjudication at the Academic
            Board in the Spring of 2024. Only exceptions will be former cadets considered for readmission
            for the Spring Term - those files will be completed and adjudicated before December 2023 .
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             5. Talent and Diversity: Within major talent and diversity categories we will be authorized the
                following vacancies based on the 2027 goals.                                  l


     2027 Talent and          Ath>23 %      AfAM >14% ` Hisp>11% ` Asian>5"/1 -Women>20%            -Ldr>l5"/1    -Sch>300/,   S0ldier§>5°/,
     Diversity (0/,) Class
     size 1259
       USMA 2027                    >280       >171        > 138           >61          >244           >183       >366              >61
           Goal
     USMA27Actlla1               270            131           137          174           249            199          486           92
     1259                      (21 .4%)      (10.4%)        (10. 8%)     (13 . 8%)     (19 . 8%)      (15 . 8%)    (38 . 6%)     (7.3%)
     USMA 2027               Not achieved   Not achieved       N ot       Exceeded   Not Achieved    Exceeded     Exceeded      Exceeded
     Goal Achieved                                          A c hieved
       2028 Talent and       >23 %          >14%           >11%           >5%           >20%        >15%          >30%             >5%
        Diversity (%)
       Class size 1220       >290           >177           >139           >63           >252        >189          >360             >61



             6. Letters of Assurance. Effective 1 July 2023 we will open Letters of Assurance (LOA)
                 consideration for candidates listed below in sub paragraph 6(a-e). They must have at least sixth
                 semester transcript and verifiable ACT or SAT scores and have an interview in their file.
                 Anyone wishing to pursue a LOA for a candidate with just PSAT scores must gain the
                 approval of the Deputv Director of Admissions prior to pushing through the workflow.
                 Interviews can be either FFORCE interviews, USMA interviews while visiting USMA, ROTC
                 interviews, SLE interviews, or modified CHIP sheet from the head coach for a recruited athlete
                 which addresses character. If their CEER is below 554, they must be brought to EXCOM.
                 These guidelines may shift during the class cycle. Be prepared to execute changes rapidly
                 should the guidelines shift due to class size changes.

                                 a. 1-rated chipped Recruited Athletes: CEEIUACEER > 554 with no risk. For
                                    CEEIUACEER < 554 or indicated risk, must be approved by the Admissions
                                    Executive Committee (EXCOM) or the Admissions Committee as required. /
                                      than 160 per class cycle)

                                b. African-American: CEEMACEER > 554 with no risk. For CEEMACEER < 554
                                    or indicated risk, must be approved by the admissions Executive Committee
                                    (EXCOM) or the Admissions Committee as required.(less than 120 per class
                                    cycle)
                                c. Hispanic- American: CEEIUACEER > 554 with no risk and WCS >5599. For
                                    CEEMACEER < 554 or indicated risk, must be approved by the Admissions
                                    Executive Committee (EXCOM) or the Admissions Committee as required. £
                                    than 75 per class cycle)
                                d. Scholars: CEEIUACEER > 650 with no risk and WCS >6800. (less than 75 per
                                    class cycle)
                                e . Women: CEEMACEER > 554 with no risk and WCS >6499. For CEEMACEER
                                    < 554 or indicated risk, must be approved by the Admissions Executive
                                    Committee (EXCOM) or the Admissions Committee as required. (less than 75
                                    per class cycle)
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          7. USMAPS: Entering USMAPS class size is slightly larger than the 2022 cohort, however we are
             continuing to monitor the risk entering USMAPS. We expect 239 students to enroll into USMAPS
             this year, still smaller than the 246-seat capacity. We will continue to follow the restriction of
             less than 10% of an incoming class with a CEER below 466 but will exclude those Prepsters from
             CEER risk calculations, instead using PCEER for USMAPS CEER risk assessments. For the class
             of 2028 enrolling into USMAPS, Regional Commanders should establish a standing list of ten
             candidates for each region for USMAPS with at least one candidate of Native Hawaiian/Pacific
             Islander decent (when possible). These candidates should be very strong leaders and have a
             single risk in the academic area. We should be able to make a USMAPS decision on this RC
             group by early March 2024. All candidates for consideration to go into USMAPS will be
             reviewed by the USMAPS member of the Admissions Committee Team. We will not use
             USMAPS as a medical holding facility, so all USMAPS offers will be for medically qualified
             applicants only, unless specifically approved by the DAD.

          8. WPPSP: Plan for a West Point Preparatory Class size of forty candidates. This will allow
             Athletic Department to place ten recruited athletes in the program if needed. All other candidates
             for this program will be fully qualified with no risks and WCS > 5900. We should move
             aggressively with high quality regional candidates. Regional Commanders also need to establish
             a standing list of fifteen candidates to be considered for this program. I want to make all non-
             recruited athlete offers before l April 2024 if possible.

             9. Other guidance for the year:

                       a. VAS / VAC and QNS Drills:
                                 i. Regional Commanders can conduct internal VAS drills in the summer. We
                                     will conduct a VAS drill in early October for any candidate who falls
                                     below the 5000 WCS or below 400 CEER. Regional Commanders and
                                     Admissions Officers can make exceptions based on other aspects of the
                                     file, but for the standing rule of thumb we will adhere to this VAS criteria.
                                ii. We will conduct a VAC drill in early November for any candidate with an
                                     open file greater than 90 days and no action on the file. A second VAC
                                     drill may be conducted in February for lack of seventh semester transcripts
                                     or college transcripts. File completion deadline is 31 January 2023 - and
                                     incomplete file at that time will be closed. Exceptions will be granted only
                                     by me on a case-by-case basis.
                               iii. Part of the file completion will be an interview form. Ideally, we will have
                                     the interview in the file prior to tendering an offer of admission. We will
                                     use both the USMA interview form and the ROTC PMS interview form
                                     this candidate cycle. An amended chip sheet for l rate athletes can also be
                                     used as long as it addresses character.
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            10. Congratulations on a great class of 2027 as we maneuvered through the various DODMERB
               challenges. All travel will still be approved by LTC Tolman or me, and nested in an integrated
               plan to reach as many candidates and their influencers as possible. We will continue to market
               aggressively in many areas to continue our efforts to inspire quality students to open and
               complete an application to West Point. Well done by each and every one of the DAD team.
               Your dedication and diligence made this past year an exceptionally smooth one. The Corps
               Starts Here !
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                                                     RANCE A. LEE
                                                     LIEUTENANT COLONEL, US ARMY
                                                     Director of Admissions
